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                       UN ITED STA TES D ISTR ICT C O UR T FO R TH E
                            SO U TH ER N DISTRIC T O F FL O RID A
                                                                       FILED BY             D.C.

                                                                       2E2 2j 2219
     JAMESBUCKMAN      and                         casexo.19-cv-2 184. jtok
                                                                          t
                                                                          .çll
                                                                             ukl
                                                                             . ..
                                                                                î
                                                                                J,1
     M AURICE SYM O NETTE
                                                   Swvshîttl
                            Plaintiff,             CO M PLA INT FOR:
    VS.                                            1. QUIET TITLE

    LANCASTER M O RTGAGE                               SLAND ER O F T ITLE
    CO .JDEUTSCH E BA NK NA TIONAL
    TRUST CO.AS TRUSTEE UND ER TH E                3. BANK V IOLATED 30 DAY NOTICE TO
    POOLING A ND SERVICING                            SALE NOTE IN VIOLATIO N OF FLORIDA
    AGREEM ENT SERIES M ST 2006-48                    STAT.559.715
    (CSFB),C/O OCW EN ATTN:VaultDept.              4. U NJU ST EN RIC H M EN T
    5720 Prem ier Park D rive,W estPalm
    Beach,FL.,33407,SECURITY                       5. V IO LA TIO N O F RE SPA 12 U .S.C 2605
    EXCHANGECOM MISSION (SEC),U.S.
    DEPARTMENT OFTHE TREASURY/I.                   6. V IO LA TIO N FL.STA T.697.10 NO
    IRS.                                              C O N TR AC T

                     Defendants.                   7. FR AU D & C O N CE ALM ENT

                                                   8. V IO LA TO N O F FL O R ID A STA T.
                                                       45.031(8)PROPERTY SOLD AT
                                                       FO R ECL O SU R E PR ICE SO
                                                       L OW TH A T IT SH O CK S TH E
                                                       C O N SCIEN CE
                                                       V IO LA TIO N O F TIM ELY
                                                       A SSIG N M ENT
                                                  10.BA N K N O C O N SID EM TIO N M O N EY
                                                     M UST BE G IV EN TO ASSIG N N O T
                                                  11.ELEVENTH CAUSE OF ACTION VIOLATION
                                                     GM P FASB FAS 14.
                                                                     0 RULE AS
                                                     GOVERENED BY THE SEC AND THE US
                                                     DEPARTMENT OFTHETREASURY/(IRS)




                                           1
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       AM ENDED COM PLAINT VERIFIED PETITION FOR DECLAM TORY RELIEF AND
                                  IUDGM ENT
        AND INIUNCTIVE RELIEFAGAINST DEFENDANT DEUTSCHE BANK N.A.TRUST
    TO QUIET TITLE PURSUANT TO FLORIDA STATUTESCHAPTER 65:AND MOTION FOR
         TEM PORARY RESTM INING ORDER AND M EM OM NDUM OF POINTS AND
                          AUTHORITIES IN SUPPORT THEREOF



                                                          JAM ES BUCKMAN,whoarethird
     COM ES N0W the Plaintiff'sMAURICE SYM ONETTEAND
        partypersonstoQUITETITLEAMENDED COMPLAINT VERIFIED PETITION FOR
       DECLAM TORY RELIEF AND JUDGM ENT astothispropertywhowerenotapartyto
       theForeclosureAccording to the3DCA Case NO:3D19-0821 LOW ER TRIBUNAL 2007-
         18226 CA-OI on frontpage ofAppealle'sM otion to Dism issthe appeal#3,thereby
              eliminatingResJudicataand RookerFeildmanonPlaintiffs,Exhibit,A2.
         ('fplaintiffT'),complainingabouttheDefendantsasnamedabove,andeachofthem,as
                                             follow s



                              PARTIES thatShare interestintheProperty:
             1.PlaintiffMAURICE SYM ONETTE isnow ,and ata1ltim esrelevantto thisaction,a
      residentoftheCounty ofDADE,State ofFLORIDA.and aholderoftheTitle to thissaid property
             1A.PlaintiffJamesBuckmanisnow andatalltimesrelavanttothisactionaresident
              ofDadeCounty and aholderoftitleto thissaid property.

                                                        whomayhaveinterestinthesubject
             2.LancasterM ortgage Bank LLC Defendant,
             Property.JAMESBUCKMAN isinform edandbelieve,andthereonallegethat,
             DefendantLANCASTER M ortgageBank LLC,isacorporation,doingbusinessin the
             County ofDADE,State ofFLORIDA and isthepurported SponsorforSecuritizedTrust


             and/or                                2
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        purportedparticipantintheimperfectsecuritization ofNoteand/ortheDeedofTrust
        asm oreparticularly described in thisCom plaint.who'saddressis 1794 Oregon PIKE
        LA NCASTER P.A.17601.


        3.DEUTSCH E BANK NATIONAL TRUST COM PANY AS TRUSTEE,UN DER TH E POO LING
        AND SERVICING AGREEMENT SERIESRAST 2006-48(CSFB),whoclaim stoownthe
        SubjectPropertyC/0 OCW EN:VaultDept.who'saddressis1761East SaintAndrew s
                                                                               .


        Place.SantaAna California.92705


        4.U.S.TREASURY/IRSwho'saddressis1500 PennsylvaniaAve.,N.W .W ashington,D.C.
        20220.

            The UN ITED STATES Treasury m ay have interestin this because the note w as sold
     in RIM IC w hich by law had to destroy the N ote to turn itinto a Bond or a stock because the
       Note cannotexistatthe sam e tim e asthe Bond, becausethatwould becalled double-
      dipping and because the Note w as destroyed The U .S.InternalRevenue(U.
                                                                            S.Treasury)
    gave Deutsche Bank NationalTrustCom pany A sTrustee, UnderThe Pooling And Servicing
      AgreementSeriesRast2006-A8 (CSFB)aTaxwrightofffrom theU.S.Treasuryasaloss
      w hich givesTheU.S.Treasury interestin the property so thereforethe title m ustbe
    Quieted concerningTheU.S.Treasury.QuiteTITLE isthesolereasonthatIam
      SuingtheSEC and theusdept.oftheTreasury/lRsinthisCom plaint.In the
     ELEVENTH CAUSE O F ACTION VIOLATIO N GM P FM B FAS 140 RULE AS GOVERENED
                      BY THE SEC AND TH E US DEPT.OF THE TREASURY .



       5. SECURITY AN D EXCHANGE COM M ISSION w ho's address is 801 BrickellAVE. #1800
       M iam iFL.33131.



             TheSECURITYAND EXCHANGE COMMISSION (SEC)mayhave
     interestin this because the fake Note w as sold on the M arketGoverned


                                               3
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        by the SEC asevidenced by the factthatDEUTCHE BANK NATIONAL

        TRUST COM PANY AS TRUSTEE, UN DER TH E POOLIN G AN D SERV ICIN G

       AGREEMENT SERIESRAST 2006-A8 (CSFB), w hich isThe PSA SEC
       Stockand Bond M arketthereforeTheTitlemustbeQuietedAgainstthe

       SEC.QuiteTITLE isthesolereasonthatIam SuingtheSEC and theus

       dept.oftheTreasury/lRsin thisComplaint In the ELEVENTH CAUSE OF
                                                       .



       ACT ION VIO LATION GM P FA SB FA S 140 RU LE A S GOVERENED BY TH E SEC

       AN D TH E US DEPT . O F TH E TREASU RY .



        Defendant,LANCASTER MortgageBankLLC PlaintiffJAMESBUCKMAN isinform ed
        and believe,and there on allege that, Defendant LANCASTER M ortgage Bank LLC
                                                                                    ,   isa
        corporation,doing businessin theCounty ofDADE, State ofFLORIDA and is the
        purportedSponsorforSecuritizedTrustand/orpurported participantintheimperfect
        securitization ofNoteand/ortheDeedofTrustasmoreparticularly described inthis
        Com plaint.


 2.Defendant,LANCASTER M ortgage Bank LLC. PlaintiffJAMES BUCKMAN isinformedand
 believe,and thereon allege that, DefendantLANCASTER M ortgageBank LLC
                                                                         ,i
                                                                          s a corporation,
 doing business in the County ofDADE, State ofFLORIDA and is the purported M asterServicer
forSecuritizedTrustand/orapurportedparticipantintheimperfectsecuritization ofthe Note
and/ortheDeedofTrustasmoreparticularlydjscribedinthisComplaint          .




            3.Ata1ltim esrelevantto thisaction, PlaintiffJAMESBUCKMAN hasowned
     the Property located at1977 NE 119th RD M IAM IFL.
                                                           33181(the'property'').

           4. PlaintiffJAMESBUCKMAN isinformedandbelieve, and thereon allege,
     thatatalltim es herein m entioned, each ofthe Defendantsw ere the agents
                                                                            ,

     employees,servantand/orthejoint-venturesoftheremainingDefendants, and each
                                            4
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       ofthem,and in doingthethingsalleged h
                                            erein below ,wereactingw ithin thecourse
       and scope ofsuch agency,
                               employmentand/orjointventure       .



                                          JURISDICTION
             5. Thetransactionsand eventsw hich
                                                       arethesubjectmatterofthis
      Com plaintalloccurred w ithin theCou
                                          nty ofDADE,State ofFLORIDA . and
      the United States DEALING W ITH THE U.
                                             S.TREASURY AND THE FEDEM L
      SECURITIESAND EXCHANGECOMMISSION (SEC)along w ith Federal
      ViolationsgivesthisFederalCourtJurisdiction      .




                 The Property is located within the C
                                                     ounty ofDADE,State ofFLORIDA
      w ith and address of 1977 NE 119th RD M IAM IFL
                                                      . 33181.M auri
                                                                   ce Sym onette Ilive
      in theofTexasDefendants/Respondentsarecitizensofthe StatesofOregon
                                                                                 ,   CA,DC,
     New York and Florida. There is com plete diversity of citi
                                                               zenship betw een
     Plaintiff/petitionerandDefendants/Respondents         .




           Petitioners seek to quiettitle to Petiti
                                                  oners'property. Theam ountin
     Controversy exceeds$75,000.00    .




                                                 10.
           This is an in rem proceeding pursu
                                             antto Florida Statutes Chapter 65 and
    FederalLaw,directed againstPetition
                                       ers'property situated within the bound
                                                                                     aries
    of M iam i-Dade County. By virtue of a unsigned fake Note a
                                                               nd Mortgage dated
    OCTOBER 20. 2005

    and filed illegally for record NOV. 16,2005,recorded in Book 23966 PAGE 3465
                                                                                       of
    the Public Records of M iam iDade County
                                  -
                                            , Fl
                                               orida, fraudulently saying Leroy
   W illiam s purchased the subjectproperty and gave a N ote and M ortgage in favor of
   Lancaster Mortgage Banking, a Massachusetts Corporation
                                                          . Al
                                                             legedly ln favor of
                                             5
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        Lancaster Bank the fake M ortgage w asAssigned to MERS w ith no Notary illegall
                                                                                      y on
       the sam e day ofa no Closing illegally
                                              withouta 30 day notice or any notice to the
       fake buyer. They Assigned theMortgage to M ERS O
                                                         ct.20,2005,Attached hereto and
       made a parthereofas Plaintiff/petitioner's Complaint.Exhibit 'C''
                                                                           .   copy of the
      subiect fake Assignm ent and Mort
                                       gage and Note. Defendant Deutsche Bank
      NationalTrust w as assigned the Note by M ers W ho never had an assignm
                                                                                   ent and
      M ERS w as notacting as nom inee for L
                                            ancasterso Deutch bank foreclosed w ith out
      any standing. Plaintiff/petitioner challenges the legal standing                 of
      Defendants/Respondentstoforecloseonthesubject
                                                          property orto sellthe property
     ataforeclosuresaleand Evict.

                                              11.
            Notwithstanding thatDeutsche Bank
                                                    was notlisted as a parton eitherthe
     Note,allonges or M ortgage and had no legalstanding to collectthe note o
                                                                             r foreclose
     the m ortgage, Defendant/RespondentDeutscheBankinitiated afo
                                                                      reclosure against
     the subjectproperty and obtained a FinalJudgm ent of Foreclosure on or about
     Decem ber 5,2013 Attached hereto and m ade a parthere
                      .
                                                          ofisa certified copy ofthe
    FinalJudgmentofForeclosureasPlaintiff/petitioner's

                                            12.
           The property w as subsequently sold
                                                    pursuant to a foreclosure sale by
    Deutsce bank National Trust. on Februarv 22, 2013
                                                     .
                                                              SeePlaintiff/petitioner's
   composite ExhibitA.A certificate ofTitlew asissued t
                                                       o Deutshebank NationalTrust
   on M arch 5,2013. SeePlaintiff/petitioner'scompositeExhibitA. Subsequently
                                                                              . the
   property was transferred by Ouitclaim Deed fro
                                                   m the purchaser. Deutshe bank
   NationalTrustto Plaintiff/petitionerIAMESBPCKMAN S
                                                           ee Plaintiff/petitioner's

                                          6
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       ExhibitD1and D71.                                14



             Rightfultitleinandtothesubjectpropertyisin Plaintiff/petitionerJAMES
       BUCKMAN name.AlthoughordinarilyPlaintiff/petitionerwouldtakethepropertybut
       mustbesubject
       tovalidfirstmortgage,forDefendants/lkespondentstotakepropertybuthaveno
      legalstanding to collecton the note or to foreclose the m ortgage, any such

      foreclosure w as

      and iswrongful.NotwithstandingPlaintiff/petitionerJAMESBUCKMAN purchaserofthe
       subjectproperty,Defendant/RespondentDeutscheBankNationalTrustCompany,as
       Trustee DEUTSCHE BANK NATIONAL TRUST COM PANY AS TRUSTEE, UNDER THE

      POOLINGAND SERVICING AGREEMENTSERIESM ST 2006-48 (CSFB)threatensto Evict
      Plaintiffs/petitioner'sfrom propertyafterafakeforeclosuresale,althoughsaid Defendant/
      Respondentshave neverproduced any valid orrecorded assignm ent, or othertransfer

      documentorothersigned proofthatitownsandholdstheNoteandMortgageonthesubject
      property.




            1.Plaintiff/petitionerchallengesthelegalstandingofDefendants/
      Respondentstocollectthesubjectnoteorforeclosethesubjectmortgage.Standing

      isjurisdictional,isnotwaivedbyPlaintiff/petitioner,andcanberaisedatanytime
      Federalrulesofprocedure3.1.Plaintiff/petitionermovesforaPreliminary
      lnjunction/TemporaryRestrainingOrderto restrainandenjointhesaleand
                                              7
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                                                               on February 19,2014 pending
      evictionofthepropertybyDefendants/Respondents
                                                               asm orefully setforth in
       resolutionofPlaintiff/petitioner'sQuietTitleclaim,
       Plaintiff/petitioner'smotionsetforth hereinbelow
                              INTRODUCTION AND FACTUAL ALLEGATIONS

                 1
                 .                                                                       and equitable
                                                                 judgment,injunctive
                                        Plaintifffordeclaratory
               isan action broughtby                                                       M ERS never
         This                                                      wivedam ages.Because
                                              ial,generaland Ptln
                   d forcom pens   atory, SPeC                                   ueroyW illiam zs
          relief,an                                    k because t  here w as no
                          ignm entfrom Lancaster Ban                               (jî(jsotassign the
           gota legalAss                                          (j so Lancaster
                                  tw as Signed and neverexhiste .                               o eutsche
                         Notetha                                                      orNoteto
           M ortgage 0r                                         ignedthe M ortgage
                                                     thave ASS
                       to MER sand M ERS could no                              uIsPROPERvy.
            m ortgage                                     LEGAL TII   Ey .
                                                                         T ()
                                                                            F T
                            how s that thisEVICTION iSIL                                             rty in
                 k W hich S                                                    hip oftherealprope
            Ban .                                        the title ayïd ow ners
                                f hom e ow ne rs'disputes
                        Iqaintif ,                                                the originatîngm ortgage
             so w e the                                     fthis action,ilathat
                     the''llome''),whichiStheSubjectO                    enoteand/oroeedof
             question(                                fplaintifj,smortgag
                                                       nership O
                            hers allegedtohave OW                                           s p and securît. y
              1ender,and Ot                                           ferred theîrow ners
                                    tly sold,aSSignedand/ortrans                              and,thus,do no
                                                                                                               t
               Trust,havetm law fu                                   jated tot t)
                                                                                e pr oper t
                                                                                          'y ,
                                 iss ory Not e and Deed ofTrustre                                   describe(jîn
                interestin Prom                                   tin PlaiutîffsHom e w hich iS
                                wnership 0ra security interes                                    îssion,decjaratory
                 have alaw fulO                                            ional distress,resc
                                                       lintliction ofem ot
                            în Forfrau ' d Int entiona                                      (jcîrcum stances
                  detailhere                                         A uPOn thefactsan
                                  vio lations 0 fT.I.L.A.and R.E.S.P. ',                                      Es
                       fbased,On                                                      squitclaim ed to)AM
                  relie                                            W illiam sthatwa
                                             iginalloan by LefoY
                                JaintiffS Or                                                    fendant,svîolations
                   suroundingP                                        uentSefurîtization.De
                                                         and Stlbseq
                      CKM  AN,EX  hibitD1.transaction                                le î
                                                                                        n  Pl ain tiff'sproperty and
                   BU                                            Courtm ustquîettit
                                                       ons  t
                                                            hi s                                                   lc
                                   readditionalreas                                            yîefasrequestedbe
                   oftheselawsa                                     t and injuncuve re
                                                  declaratoryjudgmen '
                                       scission,
                     aw ard dam ages,re


                                                                 8
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             16.From 1998 untilthe financialcrash of2008-2009,over 60 m illion hom e
      loanswheresold by originating lenderbankstoinvestm entbanksto besecuritized
      in a com plex series ofbillions oftransactions.The Plaintiff'shom e loan w as one of
      the 60m illion notesthatweresecuritized.


             17.Securitization isthe processw hereby m ortgage loansareturnedinto
      securities,orbonds,and sold to investorsby W allStreetand other firm s.The
      purpose is to provide a large supply ofm oney to lenders for originatingloans,
      and to provide investm ents to bond holders w hich w ere expected to be relatively
      safe.The procedure for selling ofthe loans w as to create a situation w hereby certain
      taxlawsknown astheRealEstateMortgagelnvestmentConduit(hereinafter
      ''REMIC'
             ')Actwereobserved,andwherebytheIssuing EntitiesandtheLenders
      w ould be protected from either entity going into bankruptcy.In orderto achieve the
      desired ''bankruptcy rem otenessz''num erous ''true Sales''ofthe loanshad to occur,in
      w hich loans w ere sold and transferred to the differentpartiesto the Securitization.


             18.A ''True Sale'
                             'ofthe loan w ould be a circum stance w hereby one party
      ow ned the Note and then sold itto another party.An offerw ould be m ade,accepted
      and com pensation given to the ''seller''in return for the Note.The Notesw ould be
      transferred,and the DeedsofTrustassigned to thebuyersofthe Note,w ith an
      Assignm entm ade every step ofthe w ay,and furtherm ore,each Note w ould be
      endorsed to thenextparty by thepreviousassigneeofrecord.


             19.Each REM IC Trustcreated by the investm entbanks,usually underNew
      York Law,would be funded w ith thousandsto tens-of-thousandsofm ortgage notes.
      ln orderto m aintain their bankruptcy-protected status,REM IC'S had to haveclosing
      datesby which every m ortgagenote thatwasto besold to the REM IC had to be
      ow ned by the REM IC.Once the REM IC closed,itcould acceptno m ore m ortgage
      notesundertheterm sofREM IC law ,and itw ould begin selling securitiesbacked by
      paym ents from hom eow ners on the notesit''ow ned'
                                                        '.


             20.How a particular m ortgage loan ended up being transferred to REM IC in
                                                9
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       the securitizationsprocess isgoverned by a contractknow n as a pooling and
       ServicingAgreement(''PSA'').ThePSA isaTrustAgreementrequiredtobefiled
       underpenaltyofperjurywiththeUnitedStatesSecuritiesandExchangeCommission
       (''SEC'')andwhich,alongwith anotherdocument,theMortgageLoanPurchase
       Agreement(''MLPA' '),istheoperativesecuritization documentcreatedbythe
       financeand securitization industryto mem orializesecuritizationstransactions.

                21.W hen the Plaintiffin this case closed on herproperty, heroriginallender
        (orotherentityclaimingownership ofthenote)signedaPSA thatgoverned
        plaintiffsparticular m ortgage note. The PSA agreem ent,as described in m ore detail
        below,detailed theclosingdate byw hich thehom eow ner'sloan m ustbe ''sold''to
        the REM IC,and describe exactly how the hom eow ner's note is to find it's w ay from
        the originallender to the REM IC trust.

                22.A typicalPSA calls for a hom eow ner's note to be transferred atleastfour
        tim esto differentkey parties before itcom es into possession ofthe REM IC trustee.
        H ere is a chartdetailing the typicalkey party assignm entchain required by a typical
        PSA :

                23.As partofthe process,the banksalm ostuniversally separated the
        m ortgagenotefrom thedeed oftrust.Underthe comm on law , the ow ner ofthe note
        hasthe rightto paym ents on the note, and the ow nerofthe deed oftrusthas the
        rightto forecloseon the hom eownerifhomeownerdefaultson the note.
        Traditionally,before investm entbanks began securitizing m ortgage notes, the holder
        ofthe notewould universally hold the deed oftrust. Thism ade sensebecause the
        party w ith the rightto collectpaym ents on the note w ould w antto be able to
       foreclose using the deed oftrust ifthe hom eow nerdefaulted.



                24.How ever,to stream line the securitization process, the investm entbanks
       createdanentity calledmortgageElectronicRegistrationsSystem (''MERS''),whois
       one ofthe defendants in this case.The investm entbanks, in addition to using M ERS'
       electronic database to track the buying selling and assignm ents ofsecuritized
       mortgagenotes(bypassingthecountyclerks'offices),wouldtransferdeedsoftrust
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        to M ERS,thereby separatingthe m ortgagenote from thedeed oftrust.MERSw ould
        hold thedeed oftrustforw hoeverlaterclaimed tobethe ''owner''ofthe

        hom eow ner's m ortgage note.
                 25.PlaintiffJAMESBUCKMAN allegesthatDefendants,and eachof
         them ,cannotshow proper receipt,possession,transfer,negotiations,assignm ent
         and ow nership oftheborrow er'soriginalProm issory Noteand Deed ofTrust,

         resulting in im perfectsecurity interests and claim s.
                 26.PlaintiffJAMESBUCKMAN furtherallegesthatDefendants,andeach of
         them,cannotestablishpossessionandpropertransferand/orEndorsementofthe
         Prom issory Noteand properassignm entofthe Deed ofTrustherein;therefore,
          noneoftheDefendants,and each ofthem ,do nothavethe ability to establish that
          m ortgagesthatsecurethe indebtness,orNote,w ere legally orproperly acquired.



                  27.PlaintiffJAMESBUCKMAN allegesthatanactualcontroversyhas
          arisen and now existbetween thePlaintiffand Defendants,and each ofthem .
                                                   determ ination and declarationofits
          PlaintiffIAMESBUCKMAN desiresajudicial
          rightswith regard totheProperty,especially becausethe M ortgage and Note was
          neversigned and thecorresponding Prom issory note and Deed ofTrust.Plaintiff
           JAMESBUCKMAN alsoseeksredressfrom Defendantsidentifiedhereinfor
           damages,forotherinjunctivereliefandforcancellation ofwritteninstruments
           based upon:
                  a.An invalid and unperfected security interestin PlaintiffsHom eherein

           afterdescribed;
                   b.Void ''TrueSaletsl'violatingFLORIDA law andexpresstermsofthe
            poolingandservicingAgreement(''PSA'')governingthesecuritizationofPlaintiff's

            m ortgage'
                    c.An incom pleteand ineffectualperfection ofa security interestin

            Plaintiffs Hom e;
                    TH ERE 15 A BSOLUTELY NO LANCASTER NOTE AT A LL
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       Because Leroy W illiam s did notgo to the Closing and did notsign the Notesto LANCASTER
       BANK,so then theNotew asneverAssigned to M ERS, exh.c.
      Assignm entm ustbe recorded w ithin 30 daysF.S.494.0075 3. (3)our Assignment
     W asRECORDED 1YEARAND 5 MONTHSAFTERTHESALE/CLOSING,TheAssignment
     conveyed,sold andsigned 10/20/05Recorded 03/21/27,exh.C BecauseMERS
      nevergota LegalAssignm entfrom LancasterBank becausetherew asno Leroy
      W illiam 's M ortgage N ote thatexhisted,So M ERS did notAssign the M ortgage N ote to
      Deustch Bank.W hich show s thatthis EVICTION is ILLEGAL THEFT OF TH IS PROPERTY,
      we actually have no rightsto own property.here'sm ore proofIfMortgageNoteisnot
      recorded by 1 yearthe M ortgage Note is void. ThisNote w as neversigned and never
      Recordedwith LeroyW illiamssignaturefrom 10/20/05untiltodaysoMortgageNote
      isvoid .And in violation ofF.S.695.01.and see:Exh.A .


     The M ortgage Note hasa space in the rightcorner ofM ortgage Note forthe preparerof
     the Note wherethe nam eand post-officeaddressofthenaturalperson w ho prepared
    the instrum entor under w hose supervision itw as prepared are legibly printed, type
    W ritten or stam ped upon such instrum ent;this Note isvoid. And in violation of
     S.695.26 (1)(b).F.)AndthentheNotewasConveyedillegallybyLancasterBankto
     MortgageElectronicRegistrationSystems(MERS)with nothirtydayoranynotice
    Asrequired by Florida which rendersNoteunenforceable andvoid. F.S.701.
                                                                         02(1)(24(34.
     Notice requirem ent-The borrowermustbe giving 15-30 daysnotice before noteissold
     orassignedtoanotherentity.(RESPA Law 12 U.S.CODEj 2605)theMortgageNote
     signed 10/20/05andtheAssignmentwasonthesamedayofSalewithoutrequired
     Notice also in the originalfraudulentm ortgage note PAGE 11 num ber 20 states
     thatthe sale ofnote or change ofservices the borrow m ustbe given notice according to
     RESPA 1aw w hich is 15 to 30 days.Butthe fraudulentAssignm entw as signed Oct. 20th
     2005,exh,C,thesam eday asthe fraudulentclosing, w ritten on the frontpage ofthe
    M ortgageNote,exh.A.which makesthisAssignm entvoid.F.S.701.02(1)(2)(3).

   Assignm ents m ustbe recorded w ith in 30 days according to Florida STATUTE
  494.0075.3(2)(34.ThisAssignmentwasrecordedtwoyearsaftersalewasillegally
  signed,exh.C.thisAssignm entis totally void. IfAssignm entisnotrecorded by 30

                                                12
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    daysthe Assignm entisvoid accordingto Florida Statute695.01.The Assignm ent
   w assigned and notarized Oct.20th2005 butw asrecorded M ay 215t2007, one year
   and 5 m onths later.Exh.C.) (Mcleanv.JpMorgan)saysyoucan'
                                                           tforeclosebefore
    you ow n the Note!TheAssignm entfrom M ERS to Deutsche Bank isVoid because
   assignmentwasmadeaflerforeclosurestarted 06/20/07,exh.M.andtheMERS
   AssignmenttoDeutscheBankwas08/22/07,exh.N.and (Mcleanv.JpMorgan)                 .

   ILLEGAL FAKE NOTARY PUBLIC VOIDS OW NERSHIP 0N M ORTGAGE NOTE
   The Notary on the M ortgage Note is a V0lD . The Notary stam p m ustcontain
   Com m ission or ID num ber, to identify the person ifneeded to varify or in court,
    (OurMortgageNotefor1977addresshasnocommissionorID numberthat'sat
   allLegible to hide theirthievery see page 15 ofthe M ORTGAGE Note ofRecord.
   nviolationofF.S.117.05(3)(A)andF.S.695.26 (1).ThisMortgageNotedoesnothave
   proofofidentity ofsigneras required in violation ofF.S.117.
                                                             05#(5)and (5)(a)see
   exh.C.page 2.atm iddle ofthe paper. The Notaries nam e m ustbe printed undertheir
   signature,on 1977 M ortgage Note there is no printed nam e underthe Notary Public
   ignature in violation ofthe fake Assignm entto M ERS. Is void ofsee exh.C.Page 2.
  FS.695.26 (1)(D)(E).New Jersey notarystamprulesisthesameasFloridarules, the
  New Jersey notary of2005lookstotally differentfrom theFraudulentoneonour
  M ortgage note,exh.P and C.The StateofNew Jersey Notary stam p on ourm ortgage
                        .


  assignm entis a COM EPLETLY M ADE UP FM UD !Exh. C.page2.and isapunishable
  felony,5.775.082 775.083 or5.715.84. ILLEGA L FAKE N OTARY PUBLIC VOIDS
 OW NERSHIP 0N MORTGAGE ASSIGNM ENT M usthaveatleastonewitness. There isno
  w ith w itnesson ourMortgageAssignm entin violation ot F S.117.05(b)1.a.b.c.d.e.
                                                             .


 see exh.C.page 2.theAssignm entisvoid. TheNotary on theAssignmentisa fake.
  TheNotary stam p m ustcontain com m ission orID num ber, toidentify the person
 ifneeded to varify or in court, (OurMortgageNotefor1977addresshasnocommission
  or ID num berto hide theirthievery in violation ofF.S.117.05(3)(A)and
 F.S.695.26(1).seeexh.C.PAGE2.Thenameofeach personwhoexecuted such
 instrum entislegibly printed, type w ritten,orstam ped upon such instrum ent
 im m ediately beneath the signature ofsuch person and the post-office address of
 each such person islegibly printed, typew ritten,or stam ped upon such instrum ent
 inviolationofF.S.695.01(1)AND F.S.695.26 (1)(a)andF.S.494.0075 (5)and
                                                13
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  F.S.701.02(1)(2)(3)exh.A.
                  54.


                  lFIRST CAUSE OF ACT ION OU IET TITLE
       FLA.STATUE 95.11 CAL CODE CIVIL PRO CED URE 760.020


    NEW LY DISCOVERED EVID ENCE.A ND FRAU D- FEDEM    LRULE60(B)(2)(4)
   (6)AND Fla.R.ofCiv.Proc.1540 (b)(2)STANDING CAN BE QUESTIONED AT
   (7) ANYTIME FEDEM LRULE 3.1 ThisistotalFraud,MERSandDeutscheBank
   (8) isbreaking allLawstotakeourproperty becauseIasBlacksforTrump have
   (9) been treated bad with BLACKMEGA Discrim inationbecauseofm ehelping
   (10)Republicansfrom BUSR SCOTT T0 TRUMP.

   N ew ly discovered evidence and fraud, M arch 4th 2018,w e w entto the Dade County

   records Departm entbecause allM ortgage Notes are Required to be Recorded w ith

   OriginalSignaturesF.S.701.02(1)(2)(3)exh.A.and.W ediscoveredthattheLancaster
   MORTGAGENOTEhasabsolutely nosignaturesofthesocalled buyer(LeroyW illiams)on
   NoteasRequiredbyF.S.695.26(1)(a),whichcausedmeto search thewholerecordto
   discoverthatA1lBuyer's(LeroyW illiam's)SIGNATURESandINTIALSareallBlacked Out
   and the blacked outsignature as show n on godsz.com #1 show ing tw o Dade County

   ClerksJoseSilvaID # 311083andGuettyJean ID # 217325behindTHEIR Clerk'sdesk
  behind protective glass.He's on Video red stam p the m ortgage and saying the records

  dept.w illnotRecord M ortgagesw ithoutthe originalsignature and She's on video after

  red stam ping and putting m y paym entreceipton the Certified so called Leroy W illiam s

  show ing M ortgage Note on Cam era, video showsblacked outinitialson LancasterNote.

   And two m anagersofthe Clerk'sofficesaying there'snow ay thisNoteshould havebeen

  puton Recorded w ithoutthe Signature,see godsz.com # AA.and AB.and Irecorded this


                                               14
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   allon docketforLeroy W illiam sthere'sno signed M ortgage, Prom issory orPrepaym ent

   RiderRecorded in Dade County.Thereisno lostNotecountin Deustche Bank Complaint

   and M ERS is notlisted in theNoteasNom inee oranythingatall, exh.A.W hich is w hy they

   did a Fake M ortgageAssignm entwhich included the Prom issory Noteasstated on the

   bottom oftheAssigned note from LancasterBankto MERSexh. C.,signed by theVice

   PresidentofLancaster(DarlenePerera)thesameladywhoontheexactsamedateshe
   signed a fake Allonge to another Bank called Indy M ac Bank before the Assignm entto

   from LancasterBank to M ERS , illegalsee exhibit.CC 1-5 you can'tGIVE a Note to tw o

   differententities especially on the sam e date. And did notrecord the assignm entuntil

   2007 lyearand 5 m onths aftersale ofthe Note w hich m akes the N ote Void according

   to F.S.exh.C.Allowing an unsigned M ortgage Noteto be Recorded in Florida which isa

   Felony,F.S.817.2341 and 775.082,775.083 and 775.084.And are allforgeries thatcan

   alm ostbe seen underthe blacked outink w hen com paring thatsignature to the other

   signaturesofthe other notesw ith the correctsignature see the Plaintiffs Lancster's

   Recorded Note showsNote hasa w rong forged signaturethatyou can see under

  the blacked out signature,exh.A.Thisisthe Correct Leroy W illiam 's realsignature

  from the other note from realRecorded Note ofLeroy W illiam 's otherproperty. From a

   realClosings,see pgs.16 and 20 of,exh.B1 and B2. A nd Flam ingo Title Com pany w as

  sued byAttorney Title Insurance Co.Because ofm oney given butno Note, exh.F,.And

  novalid W arranty Deed becauseAlexanderM oreraw asnotthere and did notsign the

  W arranty Deed,exh.G.0neofthe ownersofthehom e 1977 ne 1191 road M iam i33181,

   JamesBuckmanwasnotattheclosing,seeaffidavitexb.H.andJamesBuckman didnot
   sign anything asitAPPEARED on the fake W arrenty Deed, exh.
                                                             G.SeeJamesBuckman's
   realsignatureon driverslicense,exh.H2.SomeoneillegallysignedforJamesBuchman              .
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   SeeAffidavitfrom MauriceSymonetteanotherownersayingthathe(Maurice)wastheir
   attheAngrywipedoutnonclosingandwitnessedthatJamesBuckman, TannerCarter,
   AlexanderM oreranordid Leroy W illiam sshow up tothe closingand theW arranty Deed

   wasnotsigned,seeexh.L.Affidavitfrom JamesBuckman stateingthathewasnotatthe
   closing so there w as no LegalW arranty filed on the Record!So paym ents continued to

   Bank,exh.51,S2,S3.and then EM C M ortgage Bank EM C. M ortgage co.w rote and said

   m ake allpaym ents to INDY M AC BAN K. exh.T.And Paym entsw ere m ade on tim e even

   sixmonthsafterDeutscheBankForeclosurewasstarted06/20/2007, exh.M .See
   receiptsshowingpayments06/19/07to 09/29/074 monthsafterDeutscheBank
   oreclosure started exh.K1,K2,K3,K4. And unknow n Bank.Deustch Bank Lis

   Pendance date filed w ith no Due Process Notice to us, see page 11 ofDade Docket

   exh.o.This filed w hile Paym ents w ere stillbeing m ade and on TIM E, exh.

   A nd notice the N ote blacked outthe Loan Num ber so thatyou could

   notcheck it,exh.A .they also m ade big m istake and show ed thatLancaster

     B ank A llonged the N ote to lndyM ac B arlk FSB , E xh.F.So the only B ank

     then thatcould sellorA ssign the LancasterN ote to M ER S is lndyM ac Bank
                                                                                           ,


     ofcourse thisw asneverdone. B ecause Lancasterw ithoutN ote ow nership

     sold the N O TE illegally to M ER S w ho then illegally A ssigned the N ote to

      D EU TSCHE B AN K butafterthey started The Foreclosure law suit, see exh.

     Q.andexh.E3,which isalso illegalaccordingto M clean Vs JpM organ.This
                                                                      .




     R. is a totally a m ade up Foreclosure thievery w ow .

  LA NCASTER M ORTGAGE BANKERS, LLC m ay have or claim an interestin the property that

  isthesubjectofthisForeclosureaction byvirtueofa mortgagerecorded inofficial
                                              16
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    Records Book 23966, Page 3483,or m ay otherw ise claim an int
                                                                 erestin the property.
    FirstCom m ercialCORP, m ay have orclaim an interestin the property th
                                                                               atisthesubject
    ofthe foreclosure action by Virtue ofA Fake M
                                                    ortgage.


    2.The interestofeach Defendantaresubject, Subordinateand inferiorto the right
                                                                                           ,   title,
    interest and Iien ofplaintiffs m ortgage w ith th
                                                     e exception ofany specialassessm ents
   thatare superior Pursuantto Florida St
                                           atues159 (2006),and Floridastatues170 09    .


   (2006)

    3.SEC M ay have an interestin the property
                                                 as evidenced by DEUTSCHE Bank
    NATIONA L TRUST CO . AS TRUSTEE UND ER TH E PO OLING AND SERVICING AGRE
                                                                           EM ENT
   SERIESRAST 2006-48 (CSFB),C/O OCW EN ATTN:VaultDept 5720 Prem ier Park Drive
                                                                  .
                                                                                                 ,
   W estPalm Beach,FL.,334.07 having the note on the SEC stocks
                                                                      orbondsm arketso they
   m ust.




                  ALSO IF LANCASTER W ASACTUALLY A NOTE

   0n oraboutMarch 1, 2006 (hereinafterreferredtoas'
                                                   'closingDate'')PlaintiffJ   am es

  Buckmanw hoow nsthe house thatwasowned b
                                          y Leroy W illiam s w ho w as supposed

 to enterinto a consum ercredittransaction w ith LANCASTER M
                                                               ortgage Bank LLC BY
 OBTAINING A $1.5m illion m ortgageloan secured byaFirstTrustDeed on the Property

in favor ofLancasterLLC. Butthe SALE NEVER HAPPENED THE FAKE l
                                                             oan on the house
                                          17
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    wassecuritized,w ith the Noteand notbeing properly transferred to Defendant
                                                                                    ,   Deutsche
    Bank,acting asthe Trusteeforthe LANCASTER Mort
                                                 gageBank LLC.holding plaintiff's

    note.Documentsfiled with theSEC by the securitization p
                                                           articipants allegedly claim
    thatthe noteand deed oftrustatissuein thiscasew e
                                                     re sold,transferred and Securitized

    by Defendants, w ith otherloansand m ortgagesw ith aggregateprinci
                                                                          palbalance of

   approxim ately $1.5m illion into LANCASTER Mortgage Bank LLC Balance ofLLC Trust,

    w hich isa Com m on Law Trustform ed pursuantto N
                                                          ew York law .A detailed description

   ofthe m ortgage loans w hich form the LANCASTER M
                                                          ortgage Bank LLC is included in

    Form 42485(''Theprospectus''),whichhasbeenduly filledwiththeSECand w hich c

   an be accessed through theabove mentioned footnote.


  An expert,certified, forensic auditofthe Plaintiffs loan docum ents r
                                                                       eveals that Plaintiffs
  m ortgagenotewasrequired to atleastgo throughthisassignm e
                                                                  ntchain ofkey parties
 beforeitreached the REM IC trusteeitwasdestined for:The Plaintiffs PSA requires that
 his/hernoteordeedoftrusthadtobeendorsedandassigned, respectively,to thetrust
 and executed by multipleintervening partiesin the abovechain ofassignm entbefore
 itreached the REM IC Trustee.
 Plaintiffexecuted a seriesofdocum ents, includingbutnotlim ited to the Note and Deed
 ofTrust,Securing the Property in the am ountofth
                                                 e Note.The Originalbeneficiary and
 nom inee underthe Deed ofTrustw asm ers.
 Plaintiffisinform ed and believes, and thereon alleges
                                                     thatthepurchase mortgageon the
                                                      ,

property,the debtorobligation evidenced by theNoteand thedeed ofTrustby Plaintiffin
favoroftheoriginallenderand otherDefendants
                                               , regarding the Property, w as not
properly assigned and transferred to Defendantsoperati
                                                       ng thepooled mortgage fundsor
trustsinaccordancewiththePSA and/orFLORIDA law ofentitiesmakingand receiving
the purported assignm entsto this trust.
                                           InaccordancewiththePSA and/orFLORIDA law

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  oftheentitiesm aking and receivingthe purportedassignm entsto thistrust.
   PlaintiffallegesthatthePSA requiresthateach NoteofTrusthad to endorsed and
   assigned,respectively , to thetrustand executive by m ultipleinterview ingpartiesbefore
  itreached the Trust.Here, neithertheNotenorthe Deed ofTrustw asassignedto the
  Securitized Trustby closing date. Therefore,underthe PSA
                                                       any assignm ents ofthe Deed
                                                             ,

  ofTrustbeyond the specifiedclosingdatefortheTrustarevoid. Plaintifffurtheralleges
  thateven ifthe Deed ofTrusthad been transferred into thetrustby theclosing date,the
  transaction is stillvoid as the Note w ould nothave been transferred according to the
  requirem entfor the PSA, Since the PSA requiresa complete and unbroken chain of
  transfer and assignm ents too and from each intervening. Plaintiffinform ed and believes
                                                                                          ,
  and thereon alleges,thattheLANCASTER M ortgage         Bank LLC had no officers o r
  directorsand nocontinuing dutiesotherthan to hold assetsand to issue th
                                                                            e series of
  certificatesofinvestm entin m ortgage backed securitiesin the prospectus.

  Identified herein below . detailed description ofthe m ortgage loans w hich form the duly
                                                                      z
  filled with the SEC and W hich can beaccessed through thebelow me
                                                                        ntioned footnote.

       Plaintiffis inform ed and believes, thatDefendants Deutsche bank, alleges thatitisthe
       ''holderand ow ner''oftheNoteand thebeneficiary ofthe Deed ofTrust,How ever,the
       Note and Deed oftrustidentify the m ortgage and notholderas the origi
                                                                           nallender
       allegedly sold the m ortgage loan to LANCASTER M ortgageBanklulac
      Plaintifffurtherallegesthatno docum entsorrecordscan beprodu
                                                                      ced thatdemonstrate
      thatprior to the closing date for LANCASTER M ortgage Bank LLC the
                                                                         note duly
      endorsed,transferred and delivered to LANCASTER M ortgage Bank LLC including a11
      interview ing transfers.Norcan any docum ents or recordsbe produced that
      dem onstratethatpriortothe closing date, the Deed ofTrustwasduly assigned
                                                                                    ,
      transferred and delivered to LANCASTER M ortgageBank LLC includingalli
                                                                            ntervening
      assignm ents.


      Plaintifffurtherallegesthatany documentsthatpurportany intere
                                                                   stinthe Note to
      LANCASTER M ortgage Bank LLC aftertheTrustclosingdatearevoid as
                                                                       a m atterof
      law ,pursuantto NEW YORK trustlaw and relevantportions ofthe PSA.
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     PlaintiffJAMESBUCKMAN'SLeroyW illiams)debtorobligationdidnotcomplywith
     New Yorklaw,and/orotherlawsandstatues,and,thus, donotconstitutevalid and
     enforceable ''True Sale.''Any security interestin the Property w as, thus ,never
     perfected.Thealleged holderoftheNoteisnotthebeneficiary ofthe Deed ofTrust
     Thealleged beneficiary ofPlaintiff'sDeed ofTrustdoesnothavetherequisite title
                                                                                        ,

     perfectedsecurityinterestorstandingtoproceedinaforeclosure;and/ornotthe
    realparty in interestw ith regard to anyAction taken to betaken againstthe
    property.
    PlaintiffJAMESBUCKMANSisalsoinformedandbelieve, and thereon allegesthatat
    alltim esherein m entioned, and any assignm entofa Deed ofTrustw ithoutproper
    transferofthe Obligation thatitsecures is a legalnullity.


    In orderfortheTrusteeofthe securitized trustto have avalid and enforceable
    secured claim againstPlaintiffs Hom e, the Trustee m ustprove and certify to all
    partiesthat,am ong otherthingsrequired underthepsA:-rherewasa com plete and
    unbroken chain ofendorsem entsand transfersofthe Note from and to each party
    tothesecuritizationtransaction (which should befrom theA MortgageOriginator
    tothe(B)Sponsortothetc)Depositortothe(D)Trust/Trustee,andthatallthese
    endorsementsandtransferswerecompletedpriortotheTrustclosing dates(See
    Discussionbelow);andTheTrusteeofthe Securitized Trusthad actualphysical
    possession ofthe Note atthatpointin tim e, w hen a1lendorsem ents and
    assignmentshad been com pleted. Absentsuch proof,PlaintiffJAM ES BUCKMAN
    allegesPlaintiffJAMESBUCKMAN'SHomethatistheSubjectofthisaction            .

    Therefore,ifthe Defendants, and each ofthem did nothold and possessthe Note on
    orbeforethe closing dateofTrustherein, they are estopped and precluded from
   asserting any secured or unsecured claim in this case

        PlaintiffJAMESBUCKMAN isinformed andbelieves, and thereon alleges,that
       pursuantto the term s ofthe PSA, theMortgageOriginator(i.
                                                               e.,theoriginallender
       herein)agreed totransferandendorsetotheTrusteefortheSecuritizedtrust,
       w ithoutrecourse,including alIintervening transfers and assignm ents, allofits right,
       titleandinterestinandtothemortgageloan (Note)ofPlaintiffJAMESBUCKMAN
       herein and al1other m ortgage loans identified in the PSA . PlaintiffJAMES BUCKMAN

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          isfurtherinform ed and believes, and thereon alleges,thatthe PSA providesthatthe
         transfersand assignm entsareabsolute, w erem ade forvaluableconsideration, to
         w it,in exchange for the certificates described in the PSA , and w ere intended by the
         partiesto be a bonafide or''True salea''Since,as alleged herein below , True sales did
         notactually occur,Plaintiffallegesthatthe DefendantTrusteesare estopped and
         precluded from assertingany secured orunsecured claim in thiscase.


        29.           PlaintiffJAMESBUCKMAN isfurtherinformedandbelieves, and
 thereon alleges,thatasa resultofthePSA and otherdocum entssignedunderoath in
 relation thereto the M ortgage Originator, sponsorand Depositorare estopped from claim ing
 any interestin the Notethatisallegedly secured by theDeed ofTruston PlaintiffJAMES
 BUCKM ANS Hom e herein.


       30.            PlaintiffJAMESBUCKMAN isinformedandbelieve, and thereon allege,
thatthe Note in this case and the other m ortgage loansidentified in thePSA, w   ere never
actually transferred and delivered bythe M ortgageOriginatorto the Sponsorortothe
Depositorfrom the Depositor to the Trustee for the Securitized Trust. PlaintiffJAMES
BUCKM AN furtheralleges, on inform ation and belief, thatthe PSA herein provides thatthe
M ortgage Files ofthe M ortgagesw ere to be delivered to LAN CASTER M ortgage Bank LLC
w hich M ortgage Files include the originalDeeds ofTrust, herein.Based upon theforegoing
                                                                                             ,

PlaintiffJAMESBUCKMAN isfurtherinform edandbelieve, and thereon allege,thatthe
following deficienciesexist, in the ''TrueSale'
                                              'and securitization processasto this Deed of
Trustwhichrendersinvalidanysecurity interestin thePlaintiffJAMESBUCKMANSmortgage,
including,butnotlim ited to:


       a.The splitting orseparation oftitle, ownership and interestin PlaintiffJAMES
BUCKM ANS Note and Deed ofTrustofw hich the originallenderisthe holder
                                                                             ,   ow nerand
beneficiary ofPlaintiffJAMESBUCKMAN'SDeedofr
                                           frust;
       b.W hen theloan wassold to each interview ing entity, there w ere no Assignm ents
ofthe Deed oftrustto orfrom any interview ing entity atthe tim e ofthe sale. Therefore,
''TrueSales'
           'could notand did notoccur;
         The failure to assign and transfer the beneficialinterestin PlaintiffsDeed ofTrust
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 to Deutsche Bank,in accordance w ith PSA ofthe Defendants, as Securitization Participants;


       d. thefailureto endorse, assign and transferPlaintiffJAMES BUCKMANS
NOTEAND/OR mortgageto DefendantBank,asTrusteeforLANCASTERMortgage
Bank LLC
       E. No Assignm entsofBeneficiary orendorsem entsoftheNoteto each ofthe
intervening entities in the transaction ever occurred under Florida Law , w hich is conclusive
proofthatnotruesalesoccurred asrequired underPSA filed with theSEC;and


      F.Defendants,and each ofthem , violated the pertinentterm s ofthe PSA .
           31,PlaintiffJAMESBUCKMAN,therefore,alleges,upon informationandbelief, that
           neitherthe securitization transaction, norany ofthe Defendants in thiscase, hold a
           perfected and secured claim in theProperty;and thatallDefendantsare estopped and
           precluded insertingan unsecured claim againstPlaintiffJAMESBUCKMAN'Sestate     .




             32.     The term softhefinance transaction with LANCASTER M ortgage Bank
      LLC are notclear or conspicuous, norconsistent,and are illegalw hich violatesseveral
      statues and is in essence createsa fraudulentand unenforceable loan. Further,this
      loan w as underw ritten w ithoutproperdue diligence byLANCASTER M ortgage Bank
      LLC asevidenced by theirfailureto verify borrow er'sincom eutilizing signed lRS
      lncom eTax DisclosureForm 45067-w hich would have provided pastborrow ertax
     returns.LANCASTER M ortgageBank LLC also used a ''GDW CostofSavings''asthe
     lndex for basis ofthis loan.Because the Lender controlsthis lndex and itis directly
     based upon the parentcom pany itw asnotavalid index forthe basisoftheloan        .




            33.      lnaddition,andunbeknownsttoPlaintiffJAMESBUCKMAN, IN DY
     M AC BANK,EM C M ORTGAGE BANKERS LLC knew or should have know n that
     PlaintiffJAM ESBUCKMAN could notqualify fororafford by, forexam ple the
     underwriterhasapproved thisloan based upon creditscoresand the borrower's
     Stated Incom e only Had LANCASTER M ortgageBank LLC used am oreaccurateand
     appropriate factor,such as Tax Form sand a m ore determ inative lever ofscrutiny of
     determ iningcom plyw ith the requirem entto providePlaintiffJAM ES BUCKMAN

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     w ith a M ortgage Loan Origination Agreem entthe debtto incom e ratio, Plaintiff
     JAMES BUCKMAN w ith a MortgageLoan Origination Agreem entthedebtto incom e
     ratio,PlaintiffJAMESBUCKMAN W ITHA MORTGAGELOAN ORIGNATION
     Agreementthedebtincomeratio,PlaintiffJAMESBIJCKMAN wouldnothave
     qualified forthe loan in thefirstplace. Consequently,LANCASTER M ortgage Bank
     LLCSOLD PLAINTIFFJAMESBUCKMAN aloanproductthatitknew orshouldhave
     known w ould neverbeableto be fully paid back by Plaintiff
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       JAMESBUCKMAN.

       55. Additionally,Defendants and each ofthem ,neither explained the
        w orkings ofthe entire m ortgage loan transaction,how the rates,finance
        charges,costsand feesw ere com puted,nor the inherentvolatility ofthe
        loan productsprovided by defendants.


        56. The purpose ofentering into the above-described m ortgage loan
 transactionsw as for Plaintiffto eventually ow n the Property.Thatpurpose w as
 know ingly andintentionallythwarted and indeed m ade im possibleby Defendants
 com bined actions as alleged herein.


     57. PlaintiffJAM ES BUCKMAN'Stitle totheabove-described property is
 derivedasfollows:0noraboutMarch 1,2006(hereinafterreferredtoas''Closing
 Datef')LeroyW illiamswethoughtenteredintoaconsumercredittransactionwith
 LANCASTER M ortgage Bank LLC by obtaining a$2,600,000.00 m ortgageloan
 securednow byPlaintiffJAMESBUCKMAN'Sprincipalresidence,(Subject
 Property).ThisnotewasthoughttobesecuredbyaFirstTrustDeed onthe
 Property in favorofLANCASTER M ortgageBank LLC
     58. AllDefendants nam ed herein claim an interestand estate inthe
 property adverse to plaintiffin thatdefendantassertshe's is the ow nerofthe note
 securedbythedeedoftrusttothepropertythesubjectofthissuit.
     59.AllDefendantsnamed herein claim san interestand estate in theproperty adverseto
     plaintiffJAMESBUCKMAN inthatdefendantassertsheis




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 x   The claim ofalldefendantare w ithoutany rightw hatsoever,anddefendants have no right,
     estate,title lien orinterest in or to the property,or any oftheproperty.


         60. The claim ofalldefendants herein nam ed,and each ofthem ,claim som e estate,
right,title,lienorinterestin ortothepropertyadversetoPlaintiffJAMESBUCKMAN stitle,
and these claim sconstitute a cloud on plaintiffs title to the property.


         61. PlaintiffJAMESBUCKMANS,therefore,allege,upon informationandbelief,thatnone
ofthe parties to neitherthe securitization transaction,nor any ofthe Defendants in this case,
hold a perfected and secured claim in the property;and thatallDefendantsare estopped and
precludedfrom assertinganunsecuredclaim againstPlaintiffJAMESBUCKMANSestate.

         62. PlaintiffJAMESBUCKMAN requeststhedecreepermanentlyenjoinand allpersons
claim ing underthem ,from asserting any adverse claim to plaintiffstitle to the property;and


         63.PlaintiffJAMESBUCKMAN requestthecourtawardplaintiffcostsofthisaction,and
such other reliefas the courtm ay deem proper.


           B.Defendant M ERS cannotbe a RealPart'y in Interestin a Securitized m ortgage


         64. SincethecreationofPlaintiffJAMESBUCKMAN'SNoteherein and DeedofTrust,
 DefendantM ERS w as nam ed the ''beneficiary''ofthe Deed ofTrust.


          65. Plaintiffisinform ed and believes,and thereon alleges,thatDefendantsM ERs lacks
     the authority under its corporate charterto foreclose a m ortgage,orto ow n ortransferan
     interestin a securitized m ortgage because M ERS charter lim its M ER'S pow ers and duties to
     functioning as electronic registration system ofcertain typesofsecurities.




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              66.PlaintiffJAMES BUCKMAN is informed and believes, and thereon
       alleges,thatin orderto conducta foreclosure action,a person or entity m usthave

       standing.



             67.Plaintiff JAMES BUCKMAN is informed and believes, and thereon
      alleges,thatpursuantto New York law ,to perfectthe transferofm ortgage paper as

      collateral,the ow ner should physically deliver the note to the transferee. W ithout

      physicaltransfer,the sale ofthe note is invalid as a fraudulent conveyance or as

      unperfected.



             68.The note is this action identifies the entity to w hom it w as payable, the

      originallender.Therefore,the Note herein cannotbetransferred unless itisendorsed;

      the attachm entsto the notice ofdefaultdo not establish thatendorsem ents w ere m ade,

      norare there any other noticesw hich establish thatthe originallenderendorsed and

      sold the note to anotherparty.



             69.Furthermore,insofar as the parties to the securitization ofPlaintiffJAMES
      BUCKM AN'S Note and Deed ofTrust base their claim that the N ote w as transferred or

      assigned to DefendantDeutsche Bank,the TrusteeoftheSecuritized M ortgageherein, by

      the originallender,itis w ellestablished state law thatthe assignm ent ofa Deed ofTrust

      doesnotautom atically assign the underlying prom issory note and rightto be paid and

      the security interestis incidentofthe debt.



                   Pursuantto statelaw,to perfectthe transferofm ortgagepapersascollateral
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       for a debt,the owner should physically deliver the note to the transferee.W ithout

      physical transfer, the sale of the note is invalid as a fraudulent conveyance,   or as

      unperfected.The Note herein specially identifies the party to w hom it w as payable to

      and the Note,therefore,cannotbe transferred unless itis endorsed .



             71.Defendants, and each of them , cannot produce any evidence that the

      Prom issory Note hasbeen transferred;thereforez,DefendantM ERS could only transfer

      w hatever interest ithad in the Deed ofTrustherein.the Prom issory Note and Deed of

      Trustare inseparable:an assignmentofthe Note carriesthe mortgageti.e.,Deed of
      Trust)with it,whileanassignmentoftheDeed ofTrustaloneisa nullity.Therefore,if
      one party receivesthe Note and anotherparty receivestheDeed ofTrust(asin this
      case),theholderoftheNoteprevailsregardlessoftheorderinwhichtheinterestwere
      transferred.



             69.Defendants M ERS has failed to submit docum ents authorizing M ERS,     as

      nominee forthe originallender,to assign the subjectmortgage to the foreclosing
      trustee.Hence,M ERS lacked authority as m ere nom inee to assign Plaintiffsm ortgage,

      making any assignm entfrom M ERSdefective.



            70.ln the instantaction,M ERS,as the nom inee notonly lacks authority toassign

      the m ortgage, but cannot dem onstrate the Trustee's know ledge or assent to the

      assignm entby M ERS to the foreclosing trustee.




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              71. Any attem ptto transferthe beneficialinterestofa trustdeed w ithoutactual
       ow nership oftheunderlying note,isvoid underlaw .Therefore, Defendant,M ERS,
       cannotestablish thatitisentitled to assertaclaim in thiscase. For this reason,as w ell
       asthe otherreasons setforth herein below ,M ERS cannottransfer an interestin real
       property,and cannotrecoveranything from Plaintiff.


              72.Defendants,and each ofthem ,through the actionsalleged above, have or
      claim the rightto illegally com m ence foreclosure underthe Note on the Property viaa
      foreclosure action supported by false or fraudulentdocum ents. Said unlaw ful
      foreclosure action has caused and continuesto cause Plaintiff's greatand irreparable
      injuryin thatrealpropertyisunique.FLA.STATUE 95.11CAL CODECIVIL
      PROCEDURE 760.020.Plaintiffsseeks to quiettitle againstthe claim s ofthe
      Defendants and al1persons claim ing any legalor equitable right, title,estate,lien,or
      adverseinterestinthepropertyasofthedatethecomplaintwasfiled (FL.Statute
      95.11CalCodeCivilProcedure760.020).Plaintiffsisthetitleholderoftheproperty
      according to the term s ofa grantDeed Dated Sept.07, 14,2006.
      Lancaster Bank securitized plaintiffssingle-fam ily residentialm ortgage loan by Selling
      the Note asaSecurity on thestock m arket.Plaintiffisinform ed and believesthatthe
      unlaw fulbeneficiary hasbeen paid in full.The m ortgage states in paragraph lender
      shallrequesttrustee to reconvey theproperty and shallsurrenderthissecurity
      instrum entand allNotes evidencing debtsecured this security instrum entto Trustee
      Trustee shallreconvey the property w ithoutw arranty to the person orpersonslegally
      entitled to it...M ortgage does notstate thatPlaintiffm ustm ake a fullpaym ent, only
      thatallsecured sum sm ustbe paid.Plaintiffallegesthattheobligationsowed to
      Lancaster under the m ortgage w ere fulfilled and the loan w asfully paid w hen
      Lancasterreceived funds in excess ofthe balance on the NOTE as Proceeds ofsale
      throughsecuritizationts)oftheloanandinsuranceproceedsfrom creditdefault
      sw aps.W e know thatM ERS w as used to sellthe NOTE in a bundle of5000 other
      NOTES on the Marketunendorsed soasto beableto sellitoverand overagain with
      each investorbelieving he ow nsthe Note and to stop investors from going after and
      collecting on the investm ent.


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                   Reconveyance upon paym entofa1lsum s secured by this security
        instrum ent,FLA.STATUE 95.11 CAL CODE CIVIL PROCEDURE 760.020 Plaintiff


             74.Kelleyv.Upshaw,39Cal.2d179,192,246 P.2d 23(1952)9Hydev.
        Mangan,88 Cal.319,327,26P.180(1891)9Polhemusv.Trainer,30 Cal.685,688,
        1866W L831(18664.SeeJohnsonv.Razey,Cal.342,344,184P.657 (19194.

              75.The w rongfulconductofthe above specified Defendants and each of
       them,unlessrestrainedandenjoinedbyan OrderoftheCourt,willcontinueto
        cause greatand irreparableharm to Plaintiff.Plaintiffw illnothave thebeneficial
       useandenjoymentofitsHomeandwilllosetheproperty.

              76. Plaintiffhasno other plain,speedy or adequate rem edy and the
       injunctivereliefprayedforbelow isnecessaryandappropriateatthistimeto
       preventirreparable lossto Plaintiff.Plaintiffhas suffered and w illcontinue to
       sufferinthefutureunlessDefendantswrongfulconductisrestrainedandenjoyed
       because realproperty is inherently unique and itw illbe im possible for Plaintiffto
       determ ine the precise am ountofdam age itw illsuffer.
                        SECO ND CAUSE O F ACTIO N SLAND ER OF TITLE


                   Plaintiff JAM ES BUCKMAN re-allegesand incorporatesby
       referenceal1preceding paragraphsasthough fully setforth herein .


              78. PlaintiffJAMESBUCKMAN incorporateshereeachandevery
       allegation setforth above.
                   Defendants,andeach ofthem,disparagedPlaintiffJAM ESBUCKMAN'S
       exclusive valid title by and through the preparing ,posting, publishing,and
       recording ofthe docum ents previously described herein, including,butnotlim ited
       to ,the Notice ofDefault,Notice ofTrustee's Sale,and Trustee's Deed.




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               80.Said Defendantsknew o'
                                       rshould haveknow n thatsuch docum ents
        w ereimproperin thatatthetim e ofthe execution and delivery ofsaiddocum ents
        Defendants had no right,title,orinterestin the Property. These docum entsw ere
        naturally and com m only to be interpreted asdenying, disparaging,and casting
        doubtupon Plaintiff's legaltitle to the property. By posting,publishing,and
        recording said docum ents'disparagem entofPlaintiffs legaltitle w as m ade to the
        w orld atlarge.


              81.Asadirectand proxim ateresultofDefendantsconductin publishing
        thesedocum ents,PlaintiffJAM ES BUCKMAN'Stitleto the Property hasbeen
       disparagedandslandered,andthereisacloudon PlaintiffJAMESBUCKMAN'S
       titlewhichwasobtainedbyquitclaim deedon1/01/2007seeexhibitand
        Plaintiffhassuffered,and continuesto suffer, dam agesin an am ountto be
       proved attrial


              82.As a further proxim ate resultofDefendants conduct, PlaintiffJames
       Buckm an has incurred expensesin order to cleartitle to the property. M oreover,
       theseexpensesarecontinuing,andPlaintiffJamesBuckmanwillincuraddition
       charge for such purpose untilthe cloud on Plaintiffs title to the property has
       been rem oved.The am ountsoffutureexpensesand dam agesarenot
       ascertainableatthisAsafurtherdirectand proxim ateresultofDefendants
       conduct,PlaintiffJamesBuckmanhassufferedhumiliation,mentalanguish,
       anxiety,depression,and em otionaland physicaldistress, resulting in the loss of
       sleepandotherinjuriestohisandherhealthandwell-being,andcontinuesto
       suffersuch injuriesonan ongoingbasis.Theamountofsuchdamagesshallbe
       proven attrial.Atthe tim e thatthe false anddisparaging docum entsw ere created
       and published by theDefendants,Defendantsknew the docum entswere false
       andcreatedand publishedthem withthemaliciousintenttoinjuretoPlaintiff
       Jam esBuckm an and deprivethem oftheirexclusiveright,title,and interestin the
       Property,and to obtain the Property for theirow n

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$           use by unlaw fulm eans. The conductofthe Defendants in publishing the docum ents

            described abovew asfraudulent,oppressive,and m alicious.Therefore,Plaintiff

            JamesBuckman isentitledtoanawardofpunitivedamagesinanamountsufficient
            to punish Defendantsfor theirm alicious conductand detersuch m isconductin the

            future.




             TH IRD CAU SE O F ACTION:TH E BAN K VIO LATED TH E TH IRTY-DAY NOTICE
             RU LE TH AT SAYS BANK M UST GIVE W HEN THEY SALE OR ASSIGN THE NOTE
                         AND CASE M UST BE DISM ISSED FLA.STA T.559.715

                   83.The plaintiffm ustgive w ritten notice w ithin 30 days ofthe assignm ent

            Fla.Courts have dem anded strictcom pliance w ith the Statute and have held that

            the required notice is a condition presidentto a Debtcollection action predicated

            upon an assignmentseeLVNY FundingLLC.v.HarrisFla.LW eeklySupp.C23(Fla.
            11CIR.CourtJune24 2009)whereinthecourtFoundthatthePlaintifffailedto
            com plyw ith the written notice ofprovision ofF.S.5559.715 and therefore

            dismissedtheactionwithprejudice)accordinglytheplaintiffhasneverprovided
            the Defendantthem andatory 30 day ofassignm entthecase should also be

            dism issed forfailure to com ply w ith a m andatory condition precedence. Lancaster

            Bank LLC Assignedw rongfully theNoteto M ERSon thesam e day Closing and was

            done and only done as an exhibit,see exhibitF2,and nota partofthe Assignm ent.

            So M ERS isnotow ner and the Deutsche Bank Assignm entfrom M ERS isVoid

            Com pletely,and M ERS thuscausing Plaintiffs to sufferan im paired and defective

           Title,plaintiffsasked forDam ages.


                       VIII.FOURTH CA USE O F A CTIO N -UNIUST ENRICHM ENT

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                                  FLO RIDA STATUE 697.10

              84.Deutsche bank hasno interestin Plaintiffs M ortgage,so the pending

        foreclosureonPlaintiffspropertywouldconstituteunjustenrichment.The
       m ortgage statesthatallsecured sum sm ustbe paid.Plaintiffallegesthatthe

       obligationsunderthem ortgagew erefulfilled w hen Deutsche Bank received funds

       in excessofthe balance on the NOTE as a resultofproceeds ofsale through

       securitization to private investorsm any tim es and insurance proceeds from credit

       defaultsw aps.




                   FIFTH CAUSE OF ACTION -RESPA AND TILA VIOLATIONS
                                   RESPA 12 U.S.C.2605




              85. Deutsche Bank N .
                                  A .and itsagents m ade m aterialm isrepresentations

       and om issions w ith respectto the term s ofPlaintiffs loan in violation oftheTruth

       In LendingAct(TILA).PlaintiffsisinformedandbelievesthatLancasterBank
       concealed theterm softheloan with theintention ofinducing Plaintiffsto refrain

       from investigating and challenging the disclosures untilthe period forrescinding

       the loan expired.

              86. Plaintiffsdid notreceiveany docum entsfrom LancasterBank afterhis
       m eetingto sign docum entsata FloridaTitle Com pany, including disclosures
       required by theTruth in LendingAct,RESPA, and a notice ofrightto cancel.


              87.Plaintiffsloan isam ortgageloan subjecttotheprovisionsofRESPA,12
       U.S.C.2605 et,seq.and Cal.financialCodej50505.


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                88. 0n Oct.12,2012,Plaintiffrequested a copy ofhisloan application and
         Promissory Note ata M iam ibranch ofDefendantsin Florida. A bank Officer
         telephoned aLANCASTER M ortgage Bank LLC officein Floridaand inform ed
         Plaintiffthathe w ould receive the loan docum ents in ten days. N o docum entshave
         everbeen received.


               89. Defendantshaveengaged in a practice ofnon-compliancewith RESPA.
        includingfailingto resoond to Drooerly subm itted OW R'SseeExhibitD. Plaintiffis
        informed and believesthatthispractice isdesigned to concealTILA am id RESPA
        violationsand to concealtheidentity ofthe many investorswho believethey are
        theow nersofthe NOTE,LANCASTER M ortgageBank LLC gotcash from and true
        beneficiary ofthe Loan. As a directand proxim ate resultofDefendants failure to
        com ply w ith RESPA,Plaintiffshave suffered and continuesto sufferactualdam ages
        in thathe's unable to ascertain the basis fordefendants claim s to his property, he
        cannotidentify the ow nerofthe beneficiary ofthe Note, he cannotdeterm ine
        w hetherhis paym ents to lndyM ac Bank paid to the beneficiary and there is no
        evidence upon w hich to conclude thatDefendants are acting asN OTE ow nerw ith
        the law fulauthority in theirattem ptsto foreclose the property. Under RESPA,
        Plaintiffsseeks triple dam ages, and also documentswere ordered forQualified
        W ritten Request.Form alProtestand Dispute OfAlleged DebtAnd Validity 0F
        Alleged Loan,Butnever received See exhibitD established a > o- parttestfor
        determ ining the legality oflenderpaym entsto m ortgagebrokersfortablefunded
       transactions and interm ediary transactionsunder RESPA:

             a)W hethergoodsorfacilitieswereactuallyfurnishedorserviceswere
      actually perform ed forthe com pensation paid and;


            b)W hetherthepaymentsarereasonablyrelatedtothevalueofthegoodsor
      facilitiesthatwereactually furnished orservicesw ere actuallyperform ed.


            90.ln applying thistest, HUD believesthattotalcom pensation should be
     scrutinized to assure thatis reasonably related to the goods, facilities,or services
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      furnished orperform ed to determ inew hetheritislegalunderRESPA. The interest
      and incom e thatDefendantshave gained is disproportionate to the situation Plaintiff
      JamesBuckman findthemselvesin duedirectlyto Defendant'sfailuretodisclose
      thattheywillgainafinancialbenefitwhilePlaintiffJAMESBuckmansuffer
      financiallyasaresultoftheloanproductsoldtoPlaintiffJamesBuckman.
             91.No separate fee agreem ents,regardingtheuse ofLANCASTER Mortgage
      Bank LLC CostofSavings''asthe Index forthe basis ofthis loan, Disclosuresof
      additionalincom e duetointerestrateincreasesortheproperform and procedurein
      relation to the Borrow er'sRightsto Cancel.


                         SIXTH CAUSE O F A CTION-NO CONTM CT
                                 FLO RIDA STATUE 697.10
             92.The Assignm entfrom M ERS to Lancaster has no Lotor ParcelDescription
      on The M ortgage assignm entsee exhibitE & F w hich is a void and an illegal
      Assignment(South Florida'sCitruslandCo.v.W alden,51So.554,59 Fla.606(1910),
      and Garvinv.Baker,59 S0.2d 360(Fla.1952),alsoaccordingtoFla.Stat.697.10 For
      liability for errorin m ortgage deed orNote and in any action relating to real
      Property,ifthe courtshallfind thatany person hasprepared an instrum entw hich
      due to an inaccurate orim proper legaldescription im pairsanotherperson'stitle to
      realproperty,thecourtm ay aw ard to the prevailing party allactualdam agesthat
      she orhe m ay have sustained asa resultofsuch im pairm ent oftitle.

              93.Assignm entofMortgage wasdone 10/20/05 thesam e dayasthe
       ClosingbuttheLotandParcelwasputonrecord 09/30/05twentydaysbefore
       Closing and wasdone and only done asan exhibit, see exhibitF2.and nota party of
       the assignm ent.So M ERS isnotownerand theDeutscheBankAssignm entfrom
       M ERS is Void Com pletely,and M ERS thuscausing Plaintiffs to sufferan im paired
       and defective Title,plaintiffasked fortriple Dam ages.


                  SEVENTH CAU SE O F A CTION :FRAUD AND CON CEALM ENT
                                 FLORIDA STATUE 726.1054d)
       Fed.Rule 3.1 Standing can be broughtup any tim e even on Appeal. Denied
       DefendantsObjectionstoSalewithoutBankprovingtheyhadStandingbecausethe
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        Bankfiled Com plaintbeforethey ow ned theNote. Plaintiffforeclosed on the
        property beforethey owned itby way ofmaking a FraudulentAssignm entand
        taking Defendants property w ithouthaving Note ow nership. This foreclosure
        should neverhavebeen allow ed because theBank didn'thave assignm ent. lfw e
        lookfurther,theLispendensthatwasusedhasarecordeddateof06/20/2007an
       Assignm entofMortgage wasrecorded on thatdate by theclerk ofcourtin M iam i
        Dade as seen on exhibitC,and asseen on the sam e Docum ent, the Assignm entw as
       m ade after Lis Pendens w as filed w hich according to M clean v. JpM organ Chase
       BankN.A.).Thisisan Illegalforeclosure,youcannotForecloseonapropertybefore
       you own it(Note),therewasneveranyevidenceofDeutschebankeverowningthe
       NoteorhavinganykindofanAssignmentbeforetherecorded dateof08/22/2007
       so thisAssignm enthasno effectagainsttheCreditorunlessrecorded beforethe
       Complaint,seeFla.Stat.817.535(e)5(2)(A)apersonwhofilesordirectsafilerto
       file w ith the intentto defraud orharass another, orany lnstrum entcontaining a
       m aterially false fictitious orfraudulentstatem entorrepresentation thatpurports
       to affectow ners interestin the property described in the instrum entcom m its a
       Felony.Assignm ents to property cannotbe m ade Retroactively the Assignm ent
       begins from the tim e thatthe docum entis recorded in the County Court. There
       have been num erouscasesthatw ere dism issed becauseoffaulty Assignm entssuch
       asMcleanV.IPM.And USBank V,IbanezwheretheMassachusettsSupreme
       Courtfound thatthe m ortgageswere assigned to thelenderafterthecompletion of
       the foreclosure sale or,the Courtdecided thatthe foreclosuresw ere void because the
       lenderslacked legalauthority to forecloseand then therew asaBalch v. Lasalle Bank
       N.A.171So.3d 207,209 (Fla.4*DCA 2015)reversingaForeclosureJudgmentin part
       because''theassignment(ofMortgage)wasexecutedafterthecomplaintwasfiled,
       also see AbdelDarw iche and BatoulDarw iche v. Bank ofNew York M ellon,w hen the
       assignm entofm ortgage upon The Bank ofNew York relied to establish itsstanding,
       theAppellatecourtagreedW iththehomeowners/thatthegeneralissuesofmaterial
       factrem ained Asto W hethertheassignm entofm ortgagewassufficientto establish
       BNYM 'S Standing atthe inception ofthe suitand also see DarleneAngeliniand
       Joseph Angeliniv.HSBC BANK,etat.,4D14-216 thebankstestim ony did not
       establish The relevant:thatitheld the note atthe tim e the com plaintw as filed.
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        Although The Bank was clearly theholderatthe tim e itintroducedthe blank
        indorsed Noteattrial,''(a)plaintiffslackofstandingattheinceptionofthecaseand
        isnota Defectthatm ay be cured by the acquisition ofstanding afterthe case is filed.
       And cannotbeestablished retroactively by acquiring standingto filea lawsuitafter
        thefact.''LaFranceV.U.S.BankNat'lAssn.141So.3d 754,756(Fla.*DCA 2014)and
        Mccleanv.JpMorgan.ThereforeDeutscheBankdoesnothaveStandingtoForeclose,
        and here Deutsche Bank isatfaultand should pay trebble.


                   EIGH TH CAU SE O F A CTION:PRO PERTY SO LD AT PRICE SO
                            LOW THAT IT SH OCKS TH E CO NSCIENCE
                                  FLORIDA STATUE 45.031-48)

       The Plaintiffs property w as sold ata price so low itshocked the conscience the clerk
        sold plaintiffs$2.1 m illion housefora m ere$42,000.00 see exb.DI,in w hich w as
       purchased bythesamebankwhichis(DEUTSCHEBANK NATIONALTRUST
        COM PANY AS Trustee UnderThe Pooling And Servicing Agreem entSeries Rast2006-
       A8ICSFB)thispriceissolow itshockstheconscienceaccordingtoFl.Stat.45.031-
       (8) MauriceSymonettedidfileobjectiontosaleand demandsthatit
       be heard and has found new inform ation to further strengthen our case to show that
       thebank isknow ingly illegally takingthisproperty.Deutsche Bank boughtthe
       propertyatauctionintheforeclosuresaleofthesaidpropertyon 6/22/2017forforty
       two thousand threehundred Dollarsthatpriceissolow thatitshockstheconscience
       accordingtoFl.Stat.45.031-(8)whichVOIDStheSALEandRule702.F1.Stat.702(5).
       F.S.A.MitchellV.Masonandalsosee,FirstbankV.FisherFrichtelInc.whichsays(if
       the caseisso inadequate asto raise an inference offraud then the foreclosure can be
       voided)Allthisdonetoby passTax.DocStampsanddoawaywithalltheliensand
       m oniesow ed attached to theproperty.And som e daysIaterafterrealizing thatw esaw
       the$42,300.00 salespriceforthe $2.1 m illion and thatwe owed and thatdefendants
       saw thatthe sales price w as so 1ow and againstthe Law thatitshocked the conscience,
       thatw hen Defendantscam ebackto question the Clerk aboutourBankruptcy and
       w anted to show the m anagerhow ridiculously low thatsales w as.M ysteriously they
       show Defendants another Deutsche Bank differentfrom the firstDeutsche Bank that

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        Clerkshowedusjustdaysearlierselling$42,300.00butnow itshowed Defendant's
        property sold for$888,000.00 in which w ediscovered laterwasdoneon the sam edate
        6/22/2017withdifferentbank(DeutscheBankNationalTrustCompanyAsTrustee
        for RESIDENATIAL ASSET SECURITIZATION trustSeries 2006-48 M O RTGAGE PASS -
        THROUGH CERTIFICATESSERIES2006-H),evenafterthem seeingustapethem saying
        m outh,givingittousin w riting and show ing uson theirGovernm entcom puterthe
        salespriceat$42,300.00withwitnessesseeYouTube:(DadeClerksareIawless)see
        exb.D1.ThisshowsFraud and Collusion againsttheDefendantstojusttakethe
        propertywrongfullywhich isthemain reasonsfortheObjectiontosaleandthis
        com plaintisthatthe sale price is so low thatitshocks the conscience. The foreclosure
        am ountow edw as2.6 m illion andthe estim ated value is$1,810,000 00 butshockingly
                                                                               .


        the sale w as forty tw o thousand three hundred. And the Foreclosure w as started w hile
        defendantsw ere in good Standing w ith our paym ents. even afterpayine on tim e to the
        Bank and we have proofthatw ewere makingthe paym entsbeforeand afterthe Bank
        started the foreclosure on us see exhibits 1.2.3.4.5.and 6.this foreclosure sale needsto
        bevoided and recalled duetothe clerk ofthe courtcarelessand fraudulentactivity.
            NINTH CA USE OF ACTION :VIOLATION OF TIM ELY ASSIGNM ENT
                      FLA.STAT.702.02 AND FLA.STAT.7261056D1


    Also theinstantassignm entwasalso untim ely in orderfortheforeclosureto be
    legalthe assignm entto the m ortgage m ustbe entered in a tim ely m anner, thatis it
    should beentered before the foreclosure, in this case itw as not,the Lis Pendens
    wasrecorded 06/20/2007,exhibitB,andtheassignmentwasrecorded
    08/22/2007whichwasatleast63daysaftertheForeclosureseeExhibitC,thus
    Deutsche Bank foreclosed before they even ow ned the Note and they knew itand
    tried itanyw ay hoping thatthey could getaw ay w ith it, an assignm entcannotBe
    Assigned retro actively see ProgressiveExp. Ins.Co.V M cgrath Com ty.Chiropractic,
    913So.2d 1281,(Fla.2dDCA 2005),theplaintiffslackofstandingattheinception
    ofthe case is nota defectthatm ay be cured by the acquisition ofstanding afterthe
    caseisfiled.Thusaparty isnotperm itted to establish therightto maintain an
    action retroactively by Acquiring standing to file a Law suitafterthe fact.. M clean v.
    JpMorgan.ThereforeDeutscheBank HasnoStandingintheownershipofthesaid
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     property and for Deutsche to am end the com plaintto startoverw ould onlysuggest
     fraud (Pinov.BankofNew York)asitalready isbythenatureofthetransaction
     the transaction it'sselfis deceptive and to have this faultofan assignm entw ritten
     afterthe Com plaintis filled,butDeutsche Bank N.A.Stillclaim they have standing
     is an action offraud as have been tried by so m any othercases and the Banks that
     didthem lost(USBankN.A.vIbanez),Murrayv.HSBC BankUSA 20060P1)and (
     Powersv.HSBCBANK USA 2006).A fraudulentTransferisonewhenoneis
     threatenedwith suitbeforeassignmentofpropertyismade,Fl.Stat.726.105(D),
     and also UCC Article 3 line #6 says assignm entsor endorsem entsm ustbe
     effectuated Before suitis filed.Progressive Exp.Ins.Co.v.M cgarth Com ty,Also Fla.
     Fourth DCA and UCC F.S.DH 673 ARTICLE 3 OF TH E UCC:says they m ustprove
     they ow n the Note before they foreclose.0n Note this case isvoid,Deutsche Bank
     has no standing in this case and property should be aw arded to plaintiffs or
     M onetary dam ages.

      TENTH CAUSE O F A CTIO N:TH ERE W AS NO CO NSID EM TIO N TH E BANK CONSIDERED
              MONEY MUST BEGIVEN TO ASSIGN A NOTE.FLA.STATUE 701.02(1)(2)

     FloridaContract(MailBoxLaw)(4)saysyou mustin ordertoconsummateacontractoran
     assignmentyou m ustgive consideration m oney.The Judge Erred and isin Violation ofFlorida
     ContractLaw (4)fornotDismissingtheCasebecausetheAssignmenthasnoConsideration
     M oney on the Assignm entbetw een Lancaster Bank LLC and M ERS notonly did they violate
     the 30 day noticeon theAssignm entby trying to sale the Note on the sam eday and they also
     never Consum m ated the contractw ith m oney consideration,see exb.B and C.Plea and effect
     of.--sw orn plea ofconsideration throw s burden on plaintiff.---sm ith v.l.e Vesque,25 Fla .,
     464:W hite v.Cam p ,1 Fla.,94.Plea ofw antofconsideration as againstbona fide holderof
     negotiable prom issory note----Hancock v.Hale,17 Fla.,808.Section doesnotobviate
     necessityofexhibitionofinstrumenttothejurr;whenexhibited,consideration pre-
     assignm entor endorsem ent ----sinclairv.Gray,9 FLA.,342.EFFECT 0F SW ORN AND
     unsw orn plea ofwantofconsiderartion.----lb.Plea m ustsetforth facts.---Ahrensv.W illis,6
     Fla.,359.How draw n and w hatshould contain ----W hite v.Cam p,1 Fla.,94 M ustnotbe
     equivalentto illegality or failure ofconsideration--- Orm an v barnard,5 Fla.,528.Effectof
     unsw orn plea by adm inistrator --Knightv Knight,9Fla.
                                                          ,283.M ERS is noton the originalnote
                                                 38
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     asanom inee oranything atal1and the Note show satthe endorsem entpageofthe Lancaster
     bank's note thatallpaym ents are due to LANCASTER M ortgage Bank LLC on 0ct.20*,2005
     and Lancasteron thesam eday signed the noteto M ERSw ithouta 30 day noticeand'with no
     m oney consideration and LANCASTER M ortgage Bank LLC accordingto Lancasterw asnow
     thenoteholderasstated on the back ofthenote butLANCASTER M ortgage Bank LLC did
     assignthenoteovertoMERS(seeexhibitC,)soM ERSaccordingto Lancaster'smoney
     consideration failureand to Lancasterisnotthe ow neroftheNoteand MERSneverdid buy
     the N ote orthe assignm entbecause they neverconsum m ated the assignm entw ith the
     consideration m oney,so thereforethe assignm entfrom Mersto DeutscheBank isInvalid
    because M ERS could not sign a note to Deutsche Bank w hen they don't ow n the Note. And
    don'tforgetthe assignm entw as late, Filed afterthe 1is Pendensw asfiled in violation of
     Florida DCA third districtcourtofappeal,M clean v. JpMorgan.


          11.ELEVENTH CAUSE OF ACTION V IOLATIO N GM P FASB FAS 140 RULE AS
                GOVERENED BY THE SEC AND TH E U S DEPT.OF TH E TREASURY


    ThisiswhatI'm QuietingtheTitleagainsttheSEC andTreasury for.TheFederalGAAP
    FASB FAS 140 Rule says thatw hen a NOTE is sold on the m arketasa security, the NOTE
    m ustbe burned and destroyed and can neverbeasaforeclosure instrum entbecause thatis
    SEC Fraudbecausethe lRShasw ritten the destroyedlossoff, thentheinsurancepaid the
    loss offand then sold it on the m arket.The N OTE w as also seperated form the m ortgage
    when theoriginalProm issory NOTE w asnotrecorded along with M ortgageatthe county
    level.Additionally,the M ortgage w as separated form the Note w hen the loan w asbundled
    togetherw ith hundreds orthousands ofotherloans to create m unicipalbond funds, in
    order to selland trade on W allStreet.W hen the OriginalNote w as bundled itw as
    destroyed and given a num berto preventothersform double-dipping, thatis,to prevent
    others from reselling the prom issory Note again. By learning thisinform ation,the original
    wetblue ink promissory Notecannotbeproduced,because itw asdestroyed w hen itw as
    bundled together and putinto a securitized loan trustto selland trade on w allstreet. To
    seperate the NOTE from the m ortgage is to collapse the trust. See Carpenterv.Longan,83
    U.S.at274(findingthatan assignmentofthemortgagewithouttheNoteisanullity);
    Landm ark Nat'lBank v.Kesler,216 P.3d 158, 166-67(Kan.2009)('
                                                                'IntheEventthata
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     m ortgageloan somehow separatesinterestofthe Noteand the deed oftrust,
     w ith the deed oftrustlying w ith som e independententity,the m ortgage m ay becom e
     unenforceable'').Seealso37Fla.Jur.Mortgagesand DeedsofTrust'240(Onewhodoesnot
     have the ow nership,possession,orthe rightto possession ofthe m ortgage and the
     obligationsecuredbyit,maynotforeclosethemortgage).''Themortgagefollowsthenote.
     An assignm entofthe Note carriesthe mortgagewith it,w hilean assignm entofthe later
     aloneisanullity.''(CapitollnvestorsCo.vs.ExecutorsoftheEstateofMorison,484F.2d
     1157,1163n.''W hen a note is secured by a m ortgage is assigned,the m ortgage follow s
     the note into the hands ofthe m ortgagee.''In otherw ords,the note is held and ow ned by
     the certificate holders oftrust,and the m ortgage follow sthe Note.



                         ALSO IF LANCASTER W AS ACTUALLY A NOTE

     OnoraboutMarch1,2006(hereinafterreferredtoas''closingDate'')PlaintiffJames

    Buckman whoownsthehousethatwasQuitClaimedtoandownedbyLeroyW illiams

   w ho w assupposed to enter into a consum er credittransaction w ith LANCASTER M ortgage

   Bank LLC BY OBTAINING A $1.5m illion m ortgageloan secured by a FirstTrustDeed on the

   Property in favor ofLancasterLLC.Butthe SALE NEVER HAPPEN ED THE FAKE loan on the house

  w as securitized,w ith the Note and notbeing properly transferred to Defendant,Deutsche

  Bank,actingasthe Trustee forthe LANCASTER M ortgageBank LLC.holding plaintiffs

  Note.Docum ents filed w ith the SEC by the securitization participants allegedly claim

  thatthe note and deed oftrustatissuein this case w ere sold,transferred and Securitized

  by Defendants,with otherloansand m ortgagesw ith aggregateprincipalbalanceof

  approxim ately $1.5 m illion into LANCASTER M ortgageBank LLC BalanceofLLC Trust,

   w hich is a Com m on Law Trustform ed pursuantto New York law .A detailed description


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   ofthe m ortgage loans w hich form the LANCASTER M ortgage Bank LLC isincluded in

   Form 42485 (''Theprospectus''),whichhasbeendulyfilledwiththeSECandwhichc

   an be accessed through the above m entioned footnote.


   An expert,certified,forensic auditofthe Plaintiffs loan docum ents reveals thatPlaintiffs
  m ortgage note w as required to atleastgo through this assignm entchain ofkey parties
  before itreached the REM IC trustee itw asdestined for:The Plaintiffs PSA requires that
  his/hernoteordeedoftrusthadtobeendorsedandassigned,respectively,tothetrust
  and executed by m ultiple interveningpartiesin the abovechain ofassignm entbefore
  itreached the REM IC Trustee.
  Plaintiffexecuted a series ofdocum ents,including butnotlim ited to the Note and Deed
  ofTrust,Securing the Property in the am ountofthe Note.rrhe Originalbeneficiary and
  nom inee underthe Deed ofTrustw as m ers.
  Plaintiffis inform ed and believes,and thereon alleges,thatthe purchase m ortgage on the
  property,the debtorobligation evidenced by the Note and the deed ofTrustby Plaintiffin
  favorofthe originallender and otherDefendants,regarding the Property,w as not
  properly assigned and transferred to Defendants operating the pooled m ortgage funds or
  trustsinaccordancewiththePSA and/orFLORIDA law ofentitiesmakingandreceiving
  thepurportedassignmentstothistrust.In accordancewiththePSA and/orFLORIDA law
  ofthe entities m aking and receiving the purported assignm ents to thistrust.
  Plaintiffalleges thatthe PSA requires thateach N ote ofTrusthad to endorsed and
  assigned,respectively ,to the trustand executive by m ultiple interview ing parties before
  itreached the Trust.Here,neither the Note northe Deed ofTrustw as assigned to the
  Securitized Trustby closing date.Therefore,underthe PSA,any assignm ents ofthe Deed
  ofTrustbeyondthe specifiedclosing datefortheTrustarevoid.Plaintifffurtheralleges
  thateven ifthe Deed ofTrusthad been transferred into the trustby the closing date,the
  transaction is stillvoid asthe Note w ould nothave been transferred according to the
  requirem entforthe PSA,Since the PSA requires a com plete and unbroken chain of
  transferand assignm ents too and from each intervening.Plaintiffinform ed and believes,
  and thereon alleges,thatthe LANCASTER M ortgage        Bank LLC had no officers or

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  directors and nocontinuing duties other than to hold assets and to issue the series of
  certificatesofinvestm entin m ortgage backed securitiesintheprospectus.

  Identified herein below .detailed description ofthe m ortgage loans,w hich form the duly
  filled w ith the SEC and W hich can be accessed through the below m entioned footnote.


       Plaintiffis inform ed and believes,thatDefendants Deutsche bank,alleges thatitis the
       ''holderand ow ner''ofthe Note and the beneficiary ofthe Deed ofTrust,How ever,the
       Note and Deed oftrustidentify the m ortgage and notholderas the originallender
       allegedly sold the m ortgage loan to LANCASTER M ortgage BanklaLc
      Plaintifffurtheralleges thatno docum ents or records can be produced thatdem onstrate
      thatprior to the closing date forLANCASTER M ortgage Bank LLC the note duly
      endorsed,transferred and delivered to LANCASTER M ortgage Bank LLC including a1l
      interview ing transfers.Nor can any docum ents or records be produced that
      dem onstrate thatpriorto the closing date,the Deed ofTrustw as duly assigned,
      transferred and delivered to LANCASTER M ortgage Bank LLC including allintervening
      assignm ents.


       Plaintifffurtheralleges thatany docum entsthatpurportany interestinthe Note to
       LANCASTER M ortgage Bank LLC aRerthe Trustclosing date are void as a m atter of
       Iaw ,pursuantto NEW YORK trust1aw and relevantportionsofthePSA.

    PlaintiffJAMESBUCKMAN'SLeroyW illiams)debtorobligationdidnotcom plywith
    New Yorklaw,and/orotherlawsandstatues,and,thus,donotconstitutevalidand
    enforceable ''True Sale.''Any security interestin the Property w as,thus ,never
    perfected.The alleged holderofthe Note is notthe beneficiary ofthe Deed ofTrust
    The alleged beneficiary ofPlaintiffs Deed ofTrustdoesnothave the requisite title,
    perfectedsecurityinterestorstandingtoproceed inaforeclosure;and/ornotthe
    realparty in interestw ith regard to any Action taken to be taken againstthe
    property.
    PlaintiffJAMESBUCKMANSisalsoinformedandbelieve,andthereonallegesthatat
    alltim es herein m entioned,and any assignm entofa Deed ofTrustw ithoutproper
    transferofthe Obligation thatitsecuresis a legalnullity.

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    ln orderforthe Trustee ofthe securitized trustto have a valid and enforceable
    secured claim againstPlaintiff's Hom e,the Trustee m ustprove and certify to all
    partiesthat,am ong otherthingsrequired underthepsAr-
                                                       rherew asacom pleteand
    unbroken chain ofendorsem ents and transfers ofthe Note from and to each party
    tothesecuritizationtransaction (whichshould befrom theA MortgageOriginator
    tothe(B)Sponsortothetc)Depositortothe(D)Trust/Trustee,andthatallthese
    endorsementsandtransferswerecompleted priortotheTrustclosingdates(See
    Discussionbelow);andTheTrusteeofthe Securitized Trusthad actualphysical
    possession ofthe Note atthatpointin tim e,w hen allendorsem ents and
    assignmentshadbeen completed.Absentsuchproof,PlaintiffJAMESBUCKMAN
    allegesPlaintiffJAMESBUCKMAN'SHomethatistheSubjectofthisaction.
    Therefore,ifthe Defendants,and each ofthem did nothold and possessthe Note on
    orbefore the closing date ofTrustherein,they are estopped and precluded from
    asserting any secured orunsecured claim in this case
        PlaintiffJAMES BUCKMAN isinform ed and believes,and thereon alleges,that
        pursuanttothetermsofthePSA,theMortgageOriginator(i.e.,theoriginallender
        herein)agreedtotransferandendorsetotheTrusteefortheSecuritizedtrust,
        w ithoutrecourse,including a1lintervening transfers and assignm ents,al1ofitsright,
        titleandinterestinandtothemortgageloan(Note)ofPlaintiffJAMESBUCKMAN
        hereinandallothermortgageloansidentifiedinthePSA.PlaintiffJAMESBUCKMAN
        is furtherinform ed and believes,and thereon alleges,thatthe PSA provides thatthe
        transfersandassignm entsareabsolute,were made forvaluableconsideration,to
        w it,in exchange for the certificatesdescribed in the PSA,and w ere intended by the
        partiestobe abonafideor''Truesale.''Since,asalleged herein below,True salesdid
        notactually occur,Plaintiffalleges thatthe DefendantTrustees are estopped and
        precluded from asserting any secured orunsecured claim in thiscase.


       34.           PlaintiffJAM ES BUCKMAN isfurtherinform ed and believes,and
thereon alleges,thatasa resultofthe PSA and otherdocum ents signedunder oath in
 relation thereto the M ortgage Originator,sponsorand Depositorare estopped from claim ing
 anyinterestin theNotethatisallegedlysecuredbytheDeedofTruston PlaintiffJAMES
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BUCKM ANS Hom e herein.


       35.            PlaintiffJAMESBUCKMAN isinformedandbelieve,andthereonallege,
thatthe Note in this case and the otherm ortgage loans identified in thePSA,w ere never
actually transferred and delivered by the M ortgageOriginatorto theSponsororto the
Depositorfrom theDepositortotheTrusteefortheSecuritizedTrust.PlaintiffJAMES
BUCKMAN furtheralleges,on information and belief,thatthePSA herein providesthatthe
M ortgage Files ofthe M ortgages w ere to be delivered to LANCASTER M ortgage Bank LLC
w hich M ortgage Files include the originalDeedsofTrust,herein.Based upon the foregoing,
PlaintiffJAM ES BUCKM AN isfurtherinform ed and believe,and thereon allege,thatthe
follow ing deficiencies exist,in the ''True Sale'
                                                'and securitization processas to this Deed of
Trustw hichrendersinvalid any security interestin the PlaintiffJAM ES BUCKMANS m ortgage,
including,butnotlimited to:


        e.Thesplittingorseparationoftitle,ownership andinterestin PlaintiffJAkES
 BUCKM ANS Note and Deed ofTrustofw hich the originallender isthe holder,ow nerand
 beneficiary ofPlaintiffJAM ESBUCKMAN'SDeed ofTrust;
        f. W hen the loan w assold to each interview ing entity,there w ere no Assignm ents
 ofthe Deed oftrustto orfrom any interview ing entity atthe tim e ofthe sale.Therefore,
 'TrueSales''could notand did notoccur;
       g. The failure to assign and transferthebeneficialinterestin PlaintiffsDeed ofTrust
to Deutsche Bank,in accordance w ith PSA ofthe Defendants,asSecuritization Participants;


       h. thefailuretoendorse,assign andtransferPlaintiffJAMESBUCKMANS
NOTEAND/OR mortgagetoDefendantBank,asTrusteeforLANCASTER Mortgage
Bank LLC
       G. N o Assignm ents ofBeneficiary or endorsem ents ofthe Note to each ofthe
interveningentitiesin thetransaction everoccurred underFlorida Law,which isconclusive
proofthatno truesalesoccurred asrequired underPSA filed with theSEC;and


       H.Defendants,and each ofthem ,violated the pertinentterm s ofthe PSA.
             36.PlaintiffJAMESBUCKMAN,therefore,alleges,uponinformation andbelief,that
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         neither the securitization transaction,nor any ofthe Defendants in thiscase,hold a
         perfected and secured claim in the Property;and thata1lDefendantsare estopped and
         precludedinsertinganunsecuredclaim againstPlaintiffJAMESBUCKMAN'Sestate.


           37.      The term softhe finance transaction w ith LANCASTER M ortgage Bank
     LLC are notclearorconspicuous,norconsistent,and areillegalw hich violatesseveral
     statues and is in essence createsa fraudulentand unenforceable loan.Further,this
     loan wasuriderw ritten w ithoutproperduediligencebyLANCASTER M ortgageBank
     LLC asevidenced by their failure to verify borrow er'sincom e utilizing signed lRS
     Incom eTax Disclosure Form 4506-1-w hich would haveprovided pastborrow ertax
     returns.LANCASTER M ortgage Bank LLC also used a ''GDW CostofSavings ''as the
     Index forbasisofthisloan.Because the LendercontrolsthisIndex and itisdirectly
     based upon the parentcom pany itw as nota valid index forthe basis oftheloan.


            38.     In addition,and unbeknownstto PlaintiffJAM ES BUCKM AN,INDY
     M AC BAN K,EM C M ORTGAGE BANKERS LLC knew orshould have know n that
     PlaintiffJAMESBUCKMAN couldnotqualifyfororaffordby,forexamplethe
     underw riterhas approved thisloan based upon creditscores and the borrow er's
     Stated Income only Had LANCASTER M ortgage Bank LLC used am ore accurate and
     appropriate factor,such as Tax Form s and a m ore determ inative lever ofscrutiny of
     determiningcomplywiththerequirementtoprovidePlaintiffJAMESBUCKMAN
     w ith a M ortgage Loan Origination Agreem entthe debtto incom e ratio,Plaintiff
     JAMESBUCKMAN with aMortgageLoanOriginationAgreementthedebttoincome
     ratio,PlaintiffJAMESBUCKMAN W ITHA MORTGAGE LOAN ORIGNATION
     Agreementthedebtincom eratio,PlaintiffJAM ES BUCKM AN w ould nothave
     qualified forthe loan in the firstplace.Consequently,LANCASTER M ortgage Bank
     LLCSOLD PLAINTIFFJAMESBUCKMAN aloanproductthatitknew orshouldhave
     know n w ould neverbe able to be fully paid back by Plaintiff




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       JAMESBUCKMAN.

       72. Additionally,Defendantsand each ofthem ,neither explained the
       w orkingsofthe entire m ortgage loan transaction,how the rates,finance
       charges,costsand fees w ere com puted,northe inherentvolatility ofthe
       loan products provided by defendants.


       73. The purpose ofentering into the above-described m ortgage loan
transactionsw asfor Plaintiffto eventually ow n the Property.Thatpurpose w as
know ingly and intentionally thw arted and indeed m ade im possible by Defendants
com bined actions as alleged herein.


            PlaintiffJAMESBUCKMAN'Stitletotheabove-described propertyis
 derivedasfollows:0noraboutMarch 1,2006 (hereinafterreferredtoas''Closing
 Date'')LeroyW illiamswethoughtenteredintoaconsumercredittransactionwith
 LANCASTER M ortgage Bank LLC by obtaininga $2,600,000.00 m ortgageloan
 securednow byPlaintiffJAMESBUCKMAN'Sprincipalresidence,(Subject
 Property).ThisnotewasthoughttobesecuredbyaFirstTrustDeedonthe
 Property in favorofLA NCASTER M ortgage Bank LLC
     75. AllDefendantsnam ed herein claim an interestand estateinthe
 property adverse to plaintiffin thatdefendantasserts he's is the ow nerofthe note
 securedbythedeed oftrusttothepropertythesubjectofthissuit.
     76.Al1Defendants nam ed herein claim s an interestand estate in the property adverse to
     plaintiffJAMESBUCKMAN inthatdefendantassertsheis




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.   The claim ofalldefendantare w ithoutany rightw hatsoever,anddefendants have no right,
    estate,title lien or interestin orto the property,orany oftheproperty.


        77. The claim ofal1defendantsherein nam ed,and each ofthem ,claim som e estate,
right,title,lienorinterestin ortothepropertyadversetoPlaintiffJAMESBUCKMAN stitle,
and these claim sconstitute a cloud on plaintiff's title to the property.


        78.PlaintiffJAMESBUCKMANS,therefore,allege,uponinformationandbelief,thatnone
ofthe parties to neitherthe securitization transaction,norany ofthe Defendants in thiscase,
hold a perfected and secured claim in the property;and thatallDefendants are estopped and
precluded from assertingan unsecured claim againstPlaintiff JAM ESBUCKMANSestate.

        79.PlaintiffJAMESBUCKMAN requeststhedecreepermanentlyenjoinand allpersons
claim ing underthem ,from asserting any adverse claim to plaintiff's title to the property;and


        80. PlaintiffJAM ES BUCKM AN requestthecourtaward plaintiffcostsofthisaction,and
 such otherreliefasthe courtm ay deem proper.


          B.DefendantM ERS cannotbe a RealPartv in Interestin a Securitized m ortgage


        81.Sincethecreation ofPlaintiffJAMESBUCKMAN'SNotehereinand Deed ofTrust,
 Defendant M ERS w as nam ed the ''beneficiary''ofthe Deed ofrfrust.


         82. Plaintiffis inform ed and believes,and thereon alleges,that DefendantsM ERs lacks
    the authority under its corporate charter to foreclose a m ortgage,or to ow n or transferan
    interestin a securitized m ortgage because M ERS charter lim its M ER'Spow ers and dutiesto
    functioning as electronic registration system ofcertain types ofsecurities.




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               78.Reconveyance upon paym entofallsum ssecured by thissecurity
        instrum ent,FLA.STATUE 95.11 CAL CODE CIVIL PROCEDURE 760.020Plaintiff


             74.Kelleyv.Upshaw,39Cal.2d 179,192,246P.2d 23 (19521;Hydev.
        Mangan,88Cal.319,327,26 P.180 (1891);Polhemusv.Trainer,30Cal.685,688,
        1866W L831(1866).SeeJohnsonv.Razey,Cal.342,344,184 P.657 (1919).

               94.The wrongfulconductoftheabove specified Defendantsand each of
        them,unlessrestrainedandenjoinedbyanOrderoftheCourt,willcontinueto
         causegreatand irreparableharm to Plaintiff.Plaintiffw illnothave thebeneficial
         useandenjoymentofitsHomeandwilllosetheproperty.

               95. Plaintiffhasno otherplain,speedy oradequate rem edy and the
         injunctivereliefprayedforbelow isnecessary and appropriateatthistimeto
         preventirreparable loss to Plaintiff.Plaintiffhas suffered and w illcontinue to
         sufferin thefuture unlessDefendantswrongfulconductisrestrained and
         enjoynedbecauserealproperty isinherentlyuniqueanditwillbeimpossiblefor
         Plaintiffto determ ine the precise am ountofdam age itw illsuffer.


                                        PRAYER F0R RELIEF

            W HEREFORE Plaintiff,JamesBuckmanwillaskforthefollowingforeach
            CauseofActiontobeAwarded:And underthepenaltyofperjury,verifies
            thathehasreadtheforegoingPetitionforDeclaratoryRelieftoQuietTitle
             and Motion forTem porary Restraining Orderand thatthe factscontained
             therein aretrue and correct.


                                                       am es Buc m an
                                                       1977 N E 119th r .
                                                       M iam i,F1.33181




                                                      SYM ONETTE M AURICE
                                                    4711LlParkw ay Sugarland Tx.
                                                         77479UN IT 4208
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            83.Plaintiff JAMES BUCKMAN is informed and believes, and thereon
      alleges,thatin order to conducta foreclosure action,a person or entity m usthave

      standing.



            84.Plaintiff JAMES BUCKMAN is informed and believes, and thereon
      alleges,thatpursuantto New York law ,to perfectthe transfer ofm ortgage paper as

      collateral,the ow ner should physically deliver the note to the transferee.W ithout

      physical transfer,the sale ofthe note is invalid as a fraudulent conveyance or as

      unperfected.



             85.The note is this action identifies the entity to w hom it w as payable, the

      originallender.Therefore,the Note herein cannotbe transferred unless it is endorsed;

      the attachm entsto the notice ofdefaultdo notestablish thatendorsem ents w ere m ade,

      nor are there any other notices w hich establish thatthe originallender endorsed and

      sold the note to anotherparty.



             86.Furthermore,insofaras the parties to the securitization ofPlaintiffJAMES
      BUCKM AN 'S Note and Deed ofTrust base their claim that the Note w as transferred or

      assigned to DefendantDeutsche Bank,theTrusteeoftheSecuritized M ortgage herein,by

      the originallender,itiswellestablished statelaw thattheassignm entofa Deed ofTrust

      does not autom atically assign the underlying prom issory note and rightto be paid and

      thesecurity interestisincidentofthedebt.



             87. Pursuantto state law ,to perfectthe transfer ofm ortgage papers ascollateral
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#

          for a debt,the owner should physically deliver the note to the transferee.W ithout

          physical transfer,the sale of the note is invalid as a fraudulent conveyance, or as

          unperfected.The Note herein specially identifies the party to w hom it w as payable to

          and theNote,therefore,cannotbetransferred unlessitisendorsed .



                88.Defendants, and each of them , cannot produce any evidence that the

          Prom issory Note has been transferred;therefore,,DefendantM ERS could only transfer

          w hateverinterest ithad in the Deed ofTrustherein.the Prom issory Note and Deed of

          Trustare inseparable:an assignmentofthe Note carries the mortgageti.e.,Deed of
          Trust)with it,whilean assignmentoftheDeed ofTrustaloneisa nullity.Therefore,if
          one party receivesthe Noteand anotherparty receivesthe Deed ofTrust(asin this
          case),theholderoftheNoteprevailsregardlessoftheorderinwhichtheinterestwere
          transferred.



                 74.Defendants M ERS has failed to subm it docum ents authorizing M ERS,as

          nominee forthe originallender,to assign the subjectmortgage to the foreclosing
          trustee.Hence,M ERS lacked authority as m ere nom inee to assign Plaintiffsm ortgage,

          m aking any assignm entfrom M ERS defective.



                 75.ln the instantaction,M ERS,asthe nom inee notonly lacks authority toassign

          the m ortgage, but cannot dem onstrate the Trustee's know ledge or assent to the

          assignm entby M ERS to the foreclosing trustee.




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             ThethreatenedlossofPlaintiff/petitioner'shomeconstitutes
       irreparableinjury.
             W H EREFORE,Petitioners respectfully requestthatthis honorable

       Courtim m ediatelytakejurisdiction ofthism atterand enteran Order

       grantingtem porary injunctivereliefexpresslyprecludingand cancelling
       the foreclosure Eviction presently notscheduled asyetforthe reasons

       setforth herein,and thatthe Court grant such other and furtherreliefas

       theCourtdeem sequitable,appropriateandjust.

             Respectfully subm itted this    day of OCTOBER,2019.


                                            J ES BUCKMA
                                                7 NE 119TH RD
                                            M IA M IF A.331


                                            SYM ONETYE MAURICE
                                        4711 L JPARKW AY SUGARLAND TX.
                                             77479 UNIT 4208
                                             786-859-9421

                                   VERIFICATION

       Plaintiff/petitionerJam esBuckm anherebyverifies,underpenaltyof
       perjury,verifiesthathehasreadtheforegoingPetitionforDeclaratory
       RelieftoQuietTitleand Motion forTem porary RestrainingOrderand
       thatthe factscontained therein aretrue and correct.


                                             J esBuckm a
                                              977 NE 119th d.
                                              iam i,F1a.33181
